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                    EXHIBIT “A”
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       # 115240100   E-Filed 10/20/2020 12:18:36 AM


                                                           IN THE CIRCUIT COURT OF THE 15TH
                                                           JUDICIAL CIRCUIT, IN AND FOR
                                                           PALM BEACH COUNTY, FLORIDA

                                                           CASE NO. 2020-CA-002024

                                                           DIVISION AO

        SOUTH SPANISH TRAIL, LLC,
        a Florida limited liability corporation,

               Plaintiff,

        v.

        GLOBENET CABOS SUBMARINOS
        AMERICA, INC., a Delaware for-
        profit corporation, CARIBBEAN CROSSINGS,
        LTD., INC., and JOHN DOES 1-100,

              Defendant.
        ____________________________/

        GLOBENET CABOS SUBMARINOS
        AMERICA, INC., a Delaware for-profit
        Corporation,

               Counter-Plaintiff,
        v.

        SOUTH SPANISH TRAIL, LLC,
        a Florida limited liability corporation, and
        BOARD OF TRUSTEES OF THE
        INTERNAL IMPROVEMENT TRUST
        FUND OF THE STATE OF FLORIDA

              Counter-Defendants,
        ____________________________/

                CARIBBEAN CROSSINGS’ ANSWER, DEFENSES, AFFIRMATIVE DEFENSES
                   AND COUNTERCLAIMS TO PLAINTIFF’S AMENDED COMPLAINT

               Defendant/Counter-Plaintiff, Caribbean Crossings Ltd., Inc. (“CC”) hereby serves its

        Answer, Defenses, Affirmative Defenses and Counterclaims to the Complaint of plaintiff, South




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    Spanish Trial, LLC (“SST”). As detailed below, pursuant to Rule 1.170(h) and 1.210(a) of the

    Florida Rules of Civil Procedure, the Board of Trustees of the Internal Improvement Trust Fund

    of the State of Florida is joined as a Third-Defendant in CC’s counterclaims for declaratory

    judgment.

                                                ANSWER

              1.   This allegation is not directed at Caribbean. To the extent a response is required,

    denied.

              2.   To the extent this allegation is directed at Caribbean, denied. Caribbean further

    states that the Court has dismissed all claims for “facilitation of trespass” because no such claim

    exists under Florida law.

              3.   To the extent this allegation is directed at Caribbean, denied. Caribbean further

    states that the Court has dismissed all claims for “facilitation of trespass” because no such claim

    exists under Florida law.

              4.   To the extent the allegations in Paragraph 4 are directed at Caribbean, denied.

    Caribbean further states that the Court has dismissed all claims for “facilitation of trespass”

    because no such claim exists under Florida law.

              5.   To the extent the allegations in Paragraph 5 are directed at Caribbean, denied.

    Caribbean further states that the Court has dismissed all claims for “facilitation of trespass”

    because no such claim exists under Florida law.

              6.   This allegation is not directed at Caribbean. To the extent a response is required,

    denied.

              7.   To the extent this allegation is directed at Caribbean, denied. Caribbean further



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    states that the Court has dismissed all claims for “facilitation of trespass” because no such claim

    exists under Florida law.

              8.    This allegation is not directed at Caribbean. To the extent a response is required,

    denied. Caribbean further states that the Court has dismissed all claims for “facilitation of

    trespass” because no such claim exists under Florida law.

              9.    This allegation is not directed at Caribbean. To the extent a response is required,

    denied.

              10.   This allegation is not directed at Caribbean. To the extent a response is required,

    Caribbean lacks knowledge or information sufficient to form a belief as to the truth or falsity of

    the allegations contained in Paragraph 10, and on that basis denies them.

              11.   Denied. Caribbean further states that Plaintiff was not “forced” to do anything.

    Upon information and belief, Plaintiff was aware of both Globenet’s conduit and Caribbean’s

    cable before it purportedly acquired the lands at issue in the case. It specifically targeted these

    lands in an effort to extort Globenet and Caribbean into paying substantial sums to allow the

    conduit and fiber optic cables to remain in place.

                                   Parties, Jurisdiction, And Venue

              12.   Caribbean admits only that SST purports to bring an action for damages in excess

    of $250,000,000, but denies that SST has suffered any damages or that it is entitled to recover

    any damages. The remaining allegations in this paragraph are denied.

              13.   Caribbean admits that SST is a limited liability company with its principal place

    of business located in Palm Beach County, Florida.

              14.   This allegation is not directed at Caribbean. To the extent a response is required,



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    Caribbean lacks knowledge or information sufficient to form a belief as to the truth or falsity of

    the allegations contained in Paragraph 14, and on that basis denies them.

           15.     Upon information and belief, Caribbean admits only that Globenet owns the fiber

    optics cable system used by Caribbean. Caribbean denies that Plaintiff is the true and legitimate

    owner of the Property.

           16.     This allegation is not directed at Caribbean and it is also a legal characterization

    of Globenet’s business, and therefore no response is required. To the extent a response is

    required, Caribbean lacks knowledge or information sufficient to form a belief as to the truth or

    falsity of the allegations contained in Paragraph 16, and on that basis denies them.

           17.     This allegation is not directed at Caribbean and it is also a legal characterization

    of Globenet’s corporate powers, and therefore no response is required. To the extent a response

    is required, Caribbean lacks knowledge or information sufficient to form a belief as to the truth

    or falsity of the allegations contained in Paragraph 17, and on that basis denies them. .

           18.     This allegation is not directed at Caribbean and is a legal characterization of

    Globenet’s business and business relationships and therefore no response is required. To the

    extent a response is required, Caribbean lacks knowledge or information sufficient to form a

    belief as to the truth or falsity of the allegations contained in Paragraph 18, and on that basis

    denies them.

           19.     Paragraph 19 calls for a legal conclusion to which no response is required. To

    the extent a response is required, Caribbean denies the allegations contained in Paragraph 19.

    Caribbean specifically denies that Plaintiff is the true and legitimate owner of the Property.

           20.     Paragraph 20 calls for a legal conclusion to which no response is required. To



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    the extent a response is required, Caribbean denies the allegations contained in Paragraph 20.

              21.    Paragraph 21 calls for a legal conclusion to which no response is required. To

    the extent a response is required, Caribbean denies the allegations contained in Paragraph 21.

              22.    This allegation is unclear and therefore Caribbean is unable to admit or deny it.

              23.    This allegation is not directed at Caribbean and is a legal characterization of FCC

    policy. To the extent a response is required, Caribbean lacks knowledge or information sufficient

    to form a belief as to the truth or falsity of the allegations contained in Paragraph 23 concerning

    Globenet’s license, and on that basis denies them. Caribbean denies Plaintiff’s characterization

    of FCC policy.

              24.    Paragraph 24 calls is a legal characterization of FCC policy to which no response

    is required. To the extent a response is required, Caribbean denies the allegations contained in

    Paragraph 24.

              25.    This allegation is not directed at Caribbean. To the extent a response is required,

    denied.

              26.    To the extent this allegation is directed at Caribbean, denied. Caribbean further

    states that the Court has dismissed all claims for “facilitation of trespass” because no such claim

    exists under Florida law. Caribbean further denies that Plaintiff is the true and legitimate owner

    of the Property.

              27.    Admitted.

              28.    Paragraph 28 is a legal characterization of the nature of Caribbean’s business,

    therefore no response is required.

              29.    Paragraph 29 is a legal characterization of the nature of Caribbean’s corporate

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    powers, therefore no response is required. To the extent that a response is required, Caribbean

    admits it has no imminent domain powers like those available to the State of Florida.

           30.      Caribbean admits only that it owns a fiber optic cable which it uses to provide

    services to its customers at the retail level. Caribbean does not own the conduit in which its cable

    resides. The remaining allegations in this paragraph are denied.

           31.      This allegation is unclear and therefore Caribbean is unable to admit or deny it.

           32.      Caribbean admits only that the Federal Communications Commission (“FCC”)

    issued a cable landing license. The remaining allegations in this paragraph call are a legal

    characterization of FCC policy to which no response is required. To the extent a response is

    required, the balance of the allegations in this paragraph are denied.

           33.      Paragraph 33 calls for a legal conclusion and also contains a legal

    characterization of FCC policy, to which no response is required. To the extent a response is

    required, Caribbean denies the allegations contained in Paragraph 33.

           34.      Caribbean admits only that it has a fiber optic cable that runs through

    Globenet’s cable conduit and that Caribbean has no right or authorization to move or

    otherwise disturb Globenet’s cable system. Caribbean denies that Plaintiff is the true and

    legitimate owner of the Property.

           35.      Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

    the Property.

           36.      Denied. Caribbean further states that the Court has dismissed all claims for

    “facilitation of trespass” because no such claim exists under Florida law. Caribbean further

    denies that Plaintiff is the true and legitimate owner of the Property.


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           37.     Paragraph 37 calls for a legal conclusion, to which no response is required. To

    the extent a response is required, Caribbean denies the allegations contained in Paragraph 37.

           38.     To the extent this allegation is directed at Caribbean, denied. Caribbean further

    states that the Court has dismissed all claims for “facilitation of trespass” because no such claim

    exists under Florida law. Caribbean further denies that Plaintiff is the true and legitimate owner

    of the Property.

           39.     Caribbean states that the Court has dismissed all claims for “facilitation of

    trespass” because no such claim exists under Florida law. Caribbean denies that Plaintiff is the

    true and legitimate owner of the Property and, accordingly, denies the allegations in paragraph

    39.

           40.     Caribbean admits only that this Court has personal jurisdiction over Caribbean.

    The remaining allegations in this paragraph are denied.

           41.     Caribbean admits only that venue is proper in this forum because the Property is

    located in Palm Beach County. The remaining allegations in this paragraph are denied.

    Caribbean further denies that Plaintiff is the true and legitimate owner of the Property.

                                           General Allegations

    I.     Ownership of the Property

           42.     Caribbean denies that Plaintiff is the true and legitimate owner of the Property

    and, accordingly, denies the allegations in paragraph 42.

           43.     Caribbean admits only that the tax folios have been assigned by the Palm Beach

    County Appraiser. Caribbean denies that the assignment of tax folio numbers indicates any

    expression of opinion by the Palm Beach County Appraiser regarding the legitimacy or validity




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    of SST’s ownership of the Property. Caribbean denies that Plaintiff is the true and legitimate

    owner of the Property.

            44.     Caribbean admits only that the legal description identified by Plaintiff was

    created by SST and did not exist in any conveyance prior to that time. Caribbean denies that

    Plaintiff is the true and legitimate owner of the Property and, accordingly, denies the

    allegations in paragraph 44.

            45.     Caribbean admits only that the legal description identified by Plaintiff was

    created by SST and did not exist in any conveyance prior to that time. Caribbean denies that

    Plaintiff is the true and legitimate owner of the Property and, accordingly, denies the

    allegations in paragraph 44.

            46.     Denied. To Caribbean’s knowledge, information and belief, SST has not paid any

    property taxes relating to the Property. Caribbean further denies that Plaintiff is the true and

    legitimate owner of the Property.

            47.     Caribbean admits only that the document attached to the Amended Complaint as

    Exhibit E speaks for itself. The remaining allegations in this paragraph are denied. Caribbean

    further denies that Plaintiff is the true and legitimate owner of the Property.

            48.     Paragraph 48 calls for a legal conclusion. To the extent a response is required,

    Caribbean denies the allegations of paragraph 48. Caribbean further denies that Plaintiff is the

    true and legitimate owner of the Property.

            49.     This allegation is not directed at Caribbean. To the extent a response is required,

    Caribbean admits only that the document attached to the Amended Complaint as Exhibit F

    speaks for itself. The remaining allegations of this paragraph are denied. Caribbean further

    denies that Exhibit F constitutes a “title report”.


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         50.     This allegation is not directed at Caribbean. Caribbean further denies that

  Plaintiff is the true and legitimate owner of the Property. The Property is owned by the State

  of Florida.

         51.     Caribbean admits only that the Intracoastal Waterway (then known as the Florida

  East Coast Canal) was widened as a result of the federal government’s condemnation proceeding

  in the United States District Court for the Southern District of Florida. The remaining allegations

  in this paragraph are denied.

         52.     Caribbean admits only that in 1935 the United States District Court for the

  Southern District of Florida entered a final judgment in a condemnation proceeding involving

  the submerged lands in the navigable waters of the Intracoastal Waterway that SST claims to

  own. The remaining allegations in this paragraph are denied.

  II.    Deraignment of Title

         53.     Caribbean denies that Plaintiff is the true and legitimate owner of the Property

  and, accordingly, denies the allegations contained in Paragraph 53 and subparagraphs (a)-(s).

         54.     Caribbean admits only that the documents attached to the Amended Complaint as

  Composite Exhibit H speak for themselves. Caribbean denies that Plaintiff is the true and

  legitimate owner of the Property.

         55.     Caribbean denies that Plaintiff is the true and legitimate owner of the Property

  and, accordingly, denies the allegations contained in Paragraph 55 and subparagraphs (a)-(x).

         56.     Caribbean admits only that the documents attached to the Amended Complaint as

  Composite Exhibit I speak for themselves. Caribbean denies that Plaintiff is the true and legitimate

  owner of the Property.




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  III.    Installation of the Cable System

           57.    This allegation is not directed at Caribbean. To the extent a response is required,

  and upon information and belief, Globenet is the owner of the cable system that is at issue in this

  litigation.

           58.    Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property.

           59.    Denied, based on Caribbean’s information and belief.

           60.    The allegations in paragraph 60 are not directed at Caribbean and therefore no

  response is required. To the extent a response is required, the allegations are denied. Caribbean

  further denies that Plaintiff is the true and legitimate owner of the Property and, accordingly, denies

  the allegations in paragraph 60.

           61.    Upon information and belief, Caribbean admits only that the installation of

  Globenet’s cable system was completed by 2001, as shown on as-built drawings prepared by

  Michael Baker, Inc.

           62.    This allegation is not directed at Caribbean and therefore no response is required.

  To the extent a response is required, denied.

           63.    This allegation is not directed at Caribbean and therefore no response is required.

  To the extent a response is required, denied.

           64.    This allegation is not directed at Caribbean and therefore no response is required.

  To the extent a response is required, denied.

           65.    This allegation is not directed at Caribbean and therefore no response is required.

  To the extent a response is required, Caribbean denies that Plaintiff, or any alleged predecessor in

  interest, are the true and legitimate owner of the Property and, accordingly, denies the allegations



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  in paragraph 65.

          66.    This allegation is not directed at Caribbean and therefore no response is required.

  To the extent a response is required, denied. Caribbean further denies that Plaintiff, or any alleged

  predecessor in interest, are the true and legitimate owner of the Property

  IV.    Globenet’s Bad Faith Trespass Upon the Property

         67.     This allegation is not directed at Caribbean and also calls for a legal conclusion to

  which no response is required. To the extent a response is required, Caribbean denies the

  allegations contained in Paragraph 67.

         68.     This allegation is not directed at Caribbean. To the extent a response is required,

  Caribbean denies that Plaintiff, or any alleged predecessor in interest, are the true and legitimate

  owner of the Property and, accordingly, denies the allegations in paragraph 68.

         69.     This allegation is not directed at Caribbean and it also calls for a legal conclusion

  to which no response is required. To the extent a response is required, Caribbean denies that

  Plaintiff, or any alleged predecessor in interest, are the true and legitimate owner of the Property

  and, accordingly, denies the allegations in paragraph 69.

         70.     This allegation is not directed at Caribbean. To the extent a response is required,

  Caribbean denies that Plaintiff, or any alleged predecessor in interest, are the true and legitimate

  owner of the Property and, accordingly, denies the allegations in paragraph 70.

         71.     This allegation is not directed at Caribbean. To the extent a response is required,

  Caribbean denies that Plaintiff, or any alleged predecessor in interest, are the true and legitimate

  owner of the Property and, accordingly, denies the allegations in paragraph 71.

  V.     CC's Bad Faith Trespass Upon the Property

         72.     Denied. Caribbean further denies that Plaintiff, or any purported predecessor in



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  interest, are or were the true and legitimate owners of the Property.

         73.     Denied. Caribbean further denies that Plaintiff or any purported predecessor in

  interest, are or were the true and legitimate owners of the Property.

         74.     Denied. Caribbean further denies that Plaintiff or any purported predecessor in

  interest, are or were the true and legitimate owners of the Property.

         75.     Denied. Caribbean further denies that Plaintiff or any purported predecessor in

  interest, are or were the true and legitimate owners of the Property.

         76.     Denied. Caribbean further denies that Plaintiff, or any purported predecessor in

  interest, are or were the true and legitimate owners of the Property. Caribbean further states that

  documents regarding the installation of the cable system are publicly available and/or recorded

  and that Plaintiff had possession of these documents before it purported to purchase the Property.

         77.     Denied. Caribbean further denies that Plaintiff or any purported predecessor in

  interest, are or were the true and legitimate owners of the Property.

         78.     Denied. Caribbean further denies that Plaintiff or any purported predecessor in

  interest, are or were the true and legitimate owners of the Property.

         79.     Denied. Caribbean further denies that Plaintiff or any purported predecessor in

  interest are the true and legitimate owners of the Property.

         80.     Paragraph 80 calls for a legal conclusion to which no response is required. To

  the extent a response is required, the allegations of paragraph 80 are denied.

         81.     Caribbean admits only that it has refused SST’s attempts to coerce and extort

  Caribbean into paying substantial amounts of money in order to protect Caribbean’s rights.

  Caribbean further denies that Plaintiff or any predecessor in interest are the true and legitimate

  owner of the Property. The remaining allegations in this paragraph are denied.


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         82.     Caribbean admits only that it has refused SST’s attempts to coerce and extort

  Caribbean into paying substantial amounts of money in order to protect Caribbean’s rights.

  Caribbean further denies that Plaintiff is the true and legitimate owner of the Property.

  Caribbean further states that it has no ability or authority to remove the cable system owned by

  Globenet. The remaining allegations in this paragraph are denied.

         83.     These allegations are not directed at Caribbean. To the extent a response is

  required, the allegations of paragraph 83 are denied.

         84.     These allegations are not directed at Caribbean. To the extent a response is

  required, the allegations of paragraph 84 are denied.

         85.     Paragraph 85 calls for a legal conclusion to which no response is required. To the

  extent a response is required, Caribbean denies the allegations contained in Paragraph 85.

         86.     Caribbean only admits that SST purports to have hired counsel to represent it in

  this action. The remaining allegations in this paragraph are denied.

         87.     Denied.

                                           COUNT I
                              Trespass and Facilitation of Trespass
                                       (against Globenet)

         The Court has dismissed any claim in this count relating to “facilitation of trespass”

  because there is no such claim under Florida law. Additionally, this count is directed to Globenet

  and therefore no response is required from Caribbean. To the extent a response is required,

  Caribbean denies the allegations in paragraphs 88-105, including the Wherefore clause and its

  subclauses.




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                                            COUNT II
                                Trespass and Facilitation of Trespass
                                           (against CC)

         The Court has dismissed any claim relating to “facilitation of trespass” because there is

  no such claim under Florida law. Accordingly, Caribbean’s responses to the allegations in this

  count relate only to the remaining claim for trespass.

         106.     Caribbean realleges and adopt its responses to Paragraphs 1 through 87 of the

  Amended Complaint as if fully set forth herein.

         107.     Caribbean denies that Plaintiff has any legitimate claim for trespass or that it

  suffered any damages. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property.

         108.     Denied.

         109.     Denied. Caribbean further that Plaintiff is the true and legitimate owner of the

  Property.

         110.     Caribbean admits only that it has refused SST’s demands to coerce and extort

  Caribbean into paying substantial amounts of money in order to protect Caribbean’s existing

  rights. Caribbean denies that Plaintiff is the true and legitimate owner of the Property. The

  remaining allegations in this paragraph are denied.

         111.     Denied.

         112.     Denied.

         113.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property.

         114.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property.




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         115.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property. Caribbean also states that the Court has dismissed any claim for “facilitation of

  trespass” because no such claim exists under Florida law.

         116.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property. Caribbean also states that the Court has dismissed any claim for “facilitation of

  trespass” because no such claim exists under Florida law.

         117.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property.

         118.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property. Caribbean also states that the Court has dismissed any claim for “facilitation of

  trespass” because no such claim exists under Florida law.

         119.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property. Caribbean also states that the Court has dismissed any claim for “facilitation of

  trespass” because no such claim exists under Florida law.

         120.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property. Caribbean also states that the Court has dismissed any claim for “facilitation of

  trespass” because no such claim exists under Florida law.

         121.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property. Caribbean also states that the Court has dismissed any claim for “facilitation of

  trespass” because no such claim exists under Florida law.

         122.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property. Caribbean also states that the Court has dismissed any claim for “facilitation of

  trespass” because no such claim exists under Florida law.




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          Caribbean denies that SST is entitled to seek any of the relief requested in the

  unnumbered WHEREFORE clause and subclauses (a)-(f) following Paragraph 122, and further

  denies any of the allegations contained in the unnumbered WHEREFORE clause and subclauses (a)-

  (f), including SST’s alleged reservation of a right to amend or to seek recovery of attorney’s fees.

                                            COUNT III
                                 Trespass and Facilitation of Trespass
                                      (against John Does 1-100)

          The Court has dismissed any claim relating to “facilitation of trespass” because there is

  no such claim under Florida law. Additionally, this count is directed to John Does 1-100 and

  therefore no response is required from Caribbean. To the extent that a response is required,

  Caribbean denies the allegations in paragraphs 123-131, including the Wherefore clause and its

  subclauses.

                                              COUNT IV
                                               Ejectment
                                           (against Globenet)

          This count is directed to Globenet and therefore no response is required from Caribbean. To

  the extent that a response is required, Caribbean denies the allegations in paragraphs 132-140,

  including the Wherefore clause and its subclauses.


                                              COUNT V
                                        Ejectment (against CC)

          141.    Caribbean realleges and adopt its responses to Paragraphs 1 through 87 of the

  Amended Complaint as if fully set forth herein.

          142.    Caribbean admits only that SST purports to bring an action for ejectment, but denies

  that SST is entitled to any relief.

          143.    Denied. Caribbean further denies that Plaintiff is the true and legitimate owner




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  of the Property and that SST has any valid title to the Property.

          144.    Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property.

          145.    Denied. Caribbean specifically denies that Plaintiff is the true and legitimate owner

  of the Property.

          146.    Paragraph 146 characterize Caribbean’s legal rights in and to the Property to which

  SST purports to own, therefore no response is required. To the extent that a response is required,

  Caribbean denies the allegations contained in Paragraph 146. Caribbean further denies that

  Plaintiff is the true and legitimate owner of the Property.

          147.    Plaintiff has taken the position that neither it or any alleged predecessor owner

  of the Property provided consent to Caribbean. Because neither Plaintiff nor any purported

  predecessor in interest have ever been the true and legitimate owners of the Property, no such

  alleged private “owner” had any right to require consent from anyone. Accordingly, because

  the allegations in paragraph 147 presume that SST owns the Property, the allegations in this paragraph

  are denied.

          148.    Because neither Plaintiff nor any purported predecessor in interest have ever

  been the true and legitimate owners of the Property, no such alleged private “owner” had any

  right to require delivery of possession. Accordingly, because the allegations in paragraph 139

  presume that SST (or a predecessor) owns the Property, the allegations in this paragraph are denied.

          149.    Denied.

          Caribbean denies that SST is entitled to seek any of the relief requested in the

  unnumbered WHEREFORE clause and subclauses (a)-(g) following Paragraph 149, and further

  denies any of the allegations contained in the unnumbered WHEREFORE clause and subclauses




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  (a)-(g).

                                              COUNT VI
                                               Ejectment
                                       (against John Does 1-100)

             This count is directed to John Does 1-100 and therefore no response is required from

  Caribbean. To the extent that a response is required, Caribbean denies the allegations in

  paragraphs 150-157, including the Wherefore clause and its subclauses.

                                              COUNT VII
                                            Injunctive Relief
                                           (against Globenet)

             This count is directed to Globenet and therefore no response is required from Caribbean.

  To the extent that a response is required, Caribbean denies the allegations in paragraphs 158-171,

  including the Wherefore clause and its subclauses.

                                              COUNT VIII
                                            Injunctive Relief
                                              (against CC)

             172.   Caribbean realleges and adopts its responses to Paragraphs 1 through 87 of the

  Amended Complaint as if fully set forth herein.

             173.   Caribbean admits only that SST purports to bring an action for preliminary and

  permanent injunctive relief, but denies that SST is entitled to any relief.

             174.   Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property.

             175.   The allegations in Paragraph 175 directed toward SST’s facilitation of trespass

  claim were dismissed by the Court. To the extent a response is required, Caribbean denies the

  allegations contained in Paragraph 175.

             176.   The allegations in Paragraph 176 directed toward SST’s facilitation of trespass



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  claim were dismissed by the Court. To the extent a response is required, Caribbean denies the

  allegations contained in Paragraph 176.

         177.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property.

         178.     The allegations in Paragraph 178 directed toward SST’s facilitation of trespass

  claim were dismissed by the Court. To the extent a response is required, Caribbean denies the

  allegations contained in Paragraph 178.

         179.     The allegations in Paragraph 179 directed toward SST’s facilitation of trespass

  claim were dismissed by the Court. To the extent a response is required, Caribbean denies the

  allegations contained in Paragraph 179.

         180.     Denied. The allegations in Paragraph 180 also appear to be directed toward SST’s

  facilitation of trespass claim which dismissed by the Court. To the extent a response is required,

  Caribbean denies the allegations contained in Paragraph 180.

         181.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property.

         182.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property and that Plaintiff has suffered any cognizable harm, irreparable or otherwise.

         183.     Denied. Caribbean further denies that that there is anything unique about the

  Property. Further, to the extent that the allegations in Paragraph 183 are directed toward SST’s

  facilitation of trespass claim, that claim was dismissed by the Court and no response is required.

  To the extent a response is required, Caribbean denies the allegations contained in Paragraph 183.

         184.     Denied. Caribbean further denies that Plaintiff is the true and legitimate owner of

  the Property and that there is anything unique about the Property.




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         Caribbean denies that Plaintiff is entitled to seek any of the relief requested in the

  unnumbered WHEREFORE clause, including subclauses (a)-(d) following Paragraph 184.

                                            COUNT IX
                                         Injunctive Relief
                                     (against John Does 1-100)

         This count is directed to John Does 1-100 and therefore no response is required from

  Caribbean. To the extent that a response is required, Caribbean denies the allegations in

  paragraphs 185-196, including the Wherefore clause and its subclauses.

                                             COUNT X
                                          Unjust Enrichment
                                          (against Globenet)

         This count is directed to Globenet and therefore no response is required from Caribbean.

  To the extent that a response is required, Globenet denies the allegations in paragraphs 197-203,

  including the Wherefore clause and its subclauses.

                                             COUNT XI
                                          Unjust Enrichment
                                            (against CC)

         204.    Caribbean realleges and adopt its responses to Paragraphs 1 through 87 of the

  Amended Complaint as if fully set forth herein.

         205.    Caribbean admits only that SST purports to bring an action for unjust enrichment,

  but denies that SST is entitled to any relief.

         206.    Denied.

         207.    Denied.

         208.    Denied.

         209.    Denied.

         210.    Denied.



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          Caribbean admits only that SST purports to seek the relief requested in the

  unnumbered WHEREFORE clause and subclauses (a)-(d) following Paragraph 210, but denies that

  SST is entitled to any relief whatsoever in this action.

                                            COUNT XII
                                         Unjust Enrichment
                                      (against John Does 1-100)

          This count is directed to John Does 1-100 and therefore no response is required from

  Caribbean. To the extent that a response is required, Caribbean denies the allegations in paragraphs

  211-217, including the Wherefore clause and its subclauses.

                                             COUNT XIII
                                         Declaratory Judgment
                                          (against Globenet)

          This count is directed to Globenet and it also was dismissed by the Court. Therefore, no

  response is required from Caribbean. To the extent that a response is required, Caribbean denies

  the allegations in paragraphs 218-234, including the Wherefore clause and its subclauses.

                                              COUNT XIV
                                                Rescission
                                            (against Globenet)

          This count is directed to Globenet and it also was dismissed by the Court. Therefore, no

  response is required from Caribbean. To the extent that a response is required, Caribbean denies

  the allegations in paragraphs 235-249, including the Wherefore clause and its subclauses.

          250.    All allegations in the Amended Complaint not specifically admitted by Caribbean

  are expressly denied.




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                          DEFENSES AND AFFIRMATIVE DEFENSES

         1.      The Amended Complaint, in which SST purports to be the owner of submerged

  lands in the navigable waters of the Intracoastal Waterway that are vertically above the

  underground conduit housing Globenet’s fiber optic cable (“Submerged Lands”), fails to state a

  claim against Caribbean for trespass (Count II), ejectment (Count V), injunctive relief (Count

  VIII), and unjust enrichment (Count XI). SST cannot possibly establish that it has lawful legal title

  to the Submerged Lands because the Submerged Lands are sovereignty land of the State of Florida

  and there was no authority for any agency of the State of Florida to convey sovereign land prior to

  1917. To the extent any instrument of conveyance relied upon by Plaintiff to support its claim of

  title purports to include sovereignty land of Florida, such conveyance is invalid as a matter of

  settled Florida law. Further, any claims for equitable relief fail as a matter of law because,

  assuming Plaintiff could be the owner of the Submerged Lands, there are adequate remedies at

  law.

         2.      As an alternative to Florida’s sovereignty over the Submerged Lands, Florida’s

  Marketable Record Title Act (“MRTA”) bars Plaintiff’s claims against CC. MRTA states that any

  person, either alone or with his predecessors in title, who has been vested with title for 30 years,

  has a marketable title free and clear of all claims, subject to certain exceptions. Under MRTA, any

  other claim or interest in the lands at issue is cut off unless the claimant preserves his/her claim by

  filing a notice within that 30-year period. MRTA bars Plaintiff’s claims because the United States

  Government took title to some of the property at issue here via a 1929 deed from the Florida Canal

  and Transportation Company. The 1929 deed conveyed to the United States Government all of the

  rights and title of the Florida Canal and Transportation Company, including the right to lay

  telecommunication cables across the length of the Intracoastal Waterway.             Such title went




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  unchallenged over MRTA’s entire prescriptive period, vesting the United States Government

  and/or State of Florida with title free and clear of private claims, including Plaintiff’s current claim

  of ownership.

         3.       SST’s claims are barred in whole or in part because Globenet has a valid federal

  easement from the United States Government that is paramount to any purported interest in the

  Submerged Lands, whether those lands are owned by the State of Florida or any private party. The

  original easements, see Exhibits A and B hereto, contained an error in the identification of the lot

  numbers which has now been corrected by the United States. See Exhibit C, hereto. The rights of

  the United States derive from the United States Constitution, by authorizing legislation by the

  United States Congress (43 USC § 1314 (a)), and by virtue of a 1935 final judgment entered in the

  United States District Court for the Southern District of Florida in a condemnation proceeding.

  Pursuant to those rights it received from the federal government, Globenet has the right to authorize

  the use of its cable system to companies like Caribbean.

         4.       Ownership of the Submerged Lands lies with the State of Florida and it acquired

  those lands at statehood. Other documents establishing the State of Florida’s ownership in the

  Submerged Lands which may be relied on in this case are:

         (i)      the Bureau of Land Management, General Land Office, Survey of 1870, see Exhibit
                  D;

         (ii)     Deed No. 12041 from the Trustees of the Internal Improvement Fund to Arthur
                  Williams, dated April 25, 1883, see Exhibit E; and

         (iii)    the U.S. Coast and Geodatic Survey, dated 1884, see Exhibit F.

         5.       SST cannot get the relief sought in this action because CC has only an interest in

  its cable and not the conduit; thus, any order emanating from this case would not provide Plaintiff




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  any form of measureable relief because the Court cannot order the removal of the conduit which

  houses the cable as CC neither owns it nor installed it.

         6.      Plaintiff’s claims are barred in whole or in part by the easements granted to

  Globenet by the State of Florida. Pursuant to the State of Florida’s ownership of the Submerged

  Lands, it provided easements from the State of Florida to Globenet and its predecessors. The

  recorded easements contained an incorrect legal description. The intent of the State of Florida was

  always to grant Globenet an easement in the Submerged Lands where the cable is located. The

  location of the cable and the correct legal description to be used with the State of Florida easement

  were contained in publicly-available, as-built documents submitted to the State of Florida. Prior to

  allegedly “purchasing” the Submerged Lands, Plaintiff obtained these documents, was aware of

  the federal and state easements, the legal description that should have been attached to the recorded

  state easements and thus Plaintiff “acquired” the Submerged Lands subject to Globenet’s rights.

  Pursuant to Globenet’s easement rights, it had the right to allow companies like Caribbean to use

  its cable system.

         7.      Upon information and belief, and assuming SST’s interest in the Submerged Lands

  is superior to the United States and the Board of Trustees of the State of Florida (it is not), the

  activities of the public, Globenet and its predecessors in using, constructing and/or operating the

  fiber optic cable for more than 20 years create a prescriptive easement right in Globenet’s favor.

  Pursuant to that easement, Globenet had the right to allow Caribbean to use its cable system.

         8.      Plaintiff’s claims are barred because the Submerged Lands are sovereignty

  submerged lands protected under the Public Trust Doctrine and belong to the State of Florida. The

  Public Trust Doctrine provides that title to lands under navigable waters within the State of Florida

  are held in trust for the public by the State. Such sovereign submerged lands can only be conveyed




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  by the State through a grantor with express authority to convey sovereign submerged lands and

  through an express conveyance of sovereign submerged lands. No agency of the Florida state

  government had authority to convey sovereign submerged lands until 1917. Neither SST nor its

  predecessors received a conveyance of sovereign submerged lands by a grantor with authority to

  make such a grant. The deed(s) which form the purported root of SST’s title claims are therefore

  invalid, and SST has no legally cognizable interest in the Submerged Lands.

         9.      Plaintiff’s claims are barred because Caribbean has an easement from the State of

  Florida.

         10.     SST’s claims are barred in whole or in part because it has unclean hands. SST knew

  of Globenet’s fiber optic cable and easements or other rights prior to its alleged “purchase” of the

  Submerged Lands, knew of Caribbean’s easement, or at a minimum was on inquiry notice to

  investigate these matters, and SST paid only nominal consideration for the Submerged Lands. SST

  did so knowing that the Public Trust Doctrine and federal right of way easement for the Intracoastal

  Waterway foreclosed any development or potential use of the Submerged Lands and that Globenet

  and Caribbean otherwise had easement interests in the lands. SST purchased the Submerged Lands

  simply to attempt to coerce Caribbean and others into paying substantial amounts of money in

  order to protect their rights. In fact, SST even sued the upland property owner (Little Cardinal)

  and then attempted to obtain a perpetual easement on the upland property of Little Cardinal

  precisely in the location where Globenet’s cable traverses. SST is a mere fortune hunter looking

  to coerce Caribbean and others into paying substantial sums of money.

         11.     SST’s claims are barred in whole or in part as an improper collateral attack on the

  prior 1935 federal condemnation judgment to the extent SST challenges that judgment in any

  manner. Assuming that the Submerged Lands could be privately owned, the 1935 federal




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  condemnation judgment establishes the illegitimacy of SST’s title claim. Among other things, that

  condemnation judgment established the superior rights of the United States and also resulted in

  payment to certain persons including those who would be claiming ownership of what would later

  become submerged land in the Intracoastal Waterway. This group of persons includes SST’s

  claimed predecessors in title. Consequently, SST, which necessarily stands in the shoes of its

  predecessors, has already been compensated by the United States for the federal rights acquired

  pursuant to the 1935 judgment. Globenet thereafter received an easement from the United States

  pursuant to the rights it held in accordance with the 1935 judgment. Pursuant to the rights it

  received, Globenet allowed companies like Caribbean to use the Globenet cable system. In the

  most charitable view, SST is seeking to be paid twice for a purported property interest in the

  Submerged Lands when the federal government already paid to acquire its interest.

         12.     SST’s claims are barred by the applicable statute of limitations. Globenet’s cable

  was installed by 2001 and has remained in place since then. It was installed pursuant to federal

  and state approvals and easements, which are reflected in publicly available documents.

  Caribbean’s fiber optic cable was installed approximately at that time. SST, and its alleged

  predecessors in interest, were aware of the interests of United States and Florida in the Submerged

  Lands, and aware of Globenet’s cable and the substantial consideration paid by Globenet and were

  aware of Caribbean’s easement from the State of Florida. As such, any claim that SST may have

  had accrued at that time. SST and its predecessors could have pursued, but failed to pursue, actions

  for trespass, ejectment or any other claims. Those claims are now time-barred.

         13.     SST’s claims are barred in whole or in part by laches. Globenet’s fiber optic cable

  has been in place since at least 2001 and it has invested substantial time and resources into the

  permitting, construction, maintenance and repair of its cable as necessary, including paying the




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  State of Florida substantial consideration for easement rights. Caribbean’s fiber optic cable was

  installed at around that time. SST, and its alleged predecessor in interest, were aware of Globenet’s

  cable system and Caribbean’s cable and could have pursued actions in a timely manner but failed

  to do so. Caribbean would suffer substantial injury and prejudice if this suit were not barred.

         14.     SST’s claims are barred by the doctrines of res judicata/collateral estoppel in that

  the 1935 judgment in the condemnation proceedings for the development of the Intracoastal

  Waterway fairly compensated SST’s predecessor in interest (assuming the Submerged Lands could

  be privately owned) regarding any rights lost in the Submerged Lands and also established certain

  rights now inuring to Globenet for the placement of its fiber optic cable. Pursuant to those rights,

  Globenet has properly authorized Caribbean to use its cable system.

         15.     To the extent that SST attempts to rely on the continuing tort or delayed discovery

  doctrines, its claims are barred by res judicata/collateral estoppel, as those doctrines have already

  been found by the Court not to apply in a related unlawful detainer claim asserted by SST against

  Caribbean.

         16.     SST’s claims are barred by waiver and estoppel. SST knew, or at a minimum should

  have known, of Globenet’s fiber optic cable and easements or other property rights prior to

  purchasing the Submerged Lands. SST likewise knew of should have known of Caribbean’s

  easement and interests. SST nonetheless continued with the purported “purchase” of the

  Submerged Lands simply to coerce Globenet and others like Caribbean into paying substantial

  amounts of money in order to protect their existing rights. However, SST “purchased” the

  Submerged Lands subject to those rights.

         17.     SST’s claims are barred because SST failed to join necessary and indispensable

  parties, the United States of America and the Board of Trustees of the Internal Improvement Trust




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  Fund of the State of Florida (the “Trust”) as well as any entities to which SST has purported ceded

  any mineral or other rights (the “Mineral Interests”). SST’s claim of ownership in the Submerged

  Lands is directly contrary to the ownership and other interests of the United States and the State.

  The grantor of Globenet’s federal easement (United States Army Corp. of Engineers) has openly

  held perpetual easement and rights of way over the property since at least 1935. Similarly, the

  grantor of Globenet’s state easement (Florida), by virtue of federal legislation, is the owner of the

  Submerged Lands as of the date of statehood which occurred in 1845. If the owners of any Mineral

  Interests have any rights, those rights likely are superior to any claimed by SST. Plaintiff’s claim

  is predicated on a purported interest in the Subject Property which is, despite SST’s dubious

  ownership claim, properly vested in the United States and/or the State and/or ceded at least in part

  to owners of the Mineral Rights. The United States, the State of Florida and the owners of the

  Mineral Rights have direct interests that will inevitably be affected by a judgment in this

  proceeding and their presence is necessary to a complete determination of SST’s claims. For the

  Court to render a full and final judgment, these parties must be joined in this case.

         18.     SST has no valid claim for trespass because SST cannot satisfy the requirement of

  ownership or possession at the time of Caribbean’s alleged trespass. The State of Florida owns the

  Submerged Lands. The United States granted Globenet an easement in and to the Submerged

  Lands, pursuant to which Globenet authorized Caribbean to use the cable system. SST did not

  “acquire” the Submerged Lands until late 2016 and early 2017. With its cable well in place by

  then, SST cannot assert it was in possession at the time of any alleged trespass by Caribean. Nor

  can any predecessor to SST assert ownership or possession of the Submerged Lands prior to the

  installation of Caribbean’s cable because the lands have been submerged and not occupied (if ever)




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  since the ICW was widened in the 1930s. Accordingly, SST’s claim for trespass fails as a matter

  of law.

            19.   SST has no valid claim for ejectment because SST cannot meet the requirement

  that SST have title to the land. Under Chapter 66, Florida Statutes, a plaintiff must specifically set

  forth in the complaint the chain of title that establishes its superior right to possession of the Submerged

  Lands. See § 66.021(7). But, SST failed to satisfy this requirement because no instrument purports

  to convey the Submerged Lands (since it is sovereignty land) and the legal descriptions of the

  Submerged Lands relied on by SST never appear in any deed in the chain of title until Plaintiff

  crafted those descriptions with its surveyor.

            20.   SST is not entitled to disgorgement in the nature of any Defendants’ profits. Mesne

  profits under Florida law means damages calculated as the harm or injury caused to real property.

            21.   SST has no valid claim for injunctive relief. There is no irreparable injury because

  any purported harmed caused by the alleged trespass or ejectment can be cured by monetary

  damages. Indeed, Plaintiff seeks monetary damages in excess of $250 million. Its own pleadings

  defeat all entitlement to injunctive relief. Plaintiff also cannot satisfy the requirement that it has no

  adequate remedy at law. The claims for trespass and ejectment establish it has legal remedies. See

  Smith, 497 So.2d at 986 n.1 (“Trespass is an action at law.”).

            22.   SST has no valid claim for unjust enrichment because SST has available legal

  remedies, SST did not directly confer any benefits on Caribbean, and the damages sought for unjust

  enrichment cannot be greater than what plaintiff may recover under SST’s claims for trespass or

  ejectment claim.

            23.   SST has no valid interest in the Submerged Lands pursuant to the doctrine of

  avulsion. The Submerged Lands have always been sovereign property of the State. The

  development of the Intercoastal Waterway was an avulsive event but did not create any form of


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  ownership in those lands in favor of SST or any of its alleged predecessors in interest.

  Alternatively, to the extent that the Submerged Lands or some portion thereof may have been

  privately held, and the boundary between sovereignty land and private land cannot be sufficiently

  determined, any private owner failed claim the Submerged Lands within a reasonable period of

  time.

          24.     Plaintiff has no standing to challenged any alleged failure by Globenet to comply

  with the easements between Globenent and the United States or between Globenet and the State

  of Florida, and the rights acquired by Caribbean thereunder.

          WHEREFORE, Caribbean prays that SST take nothing by way of this action and that the

  action be dismissed with prejudice, with judgment entered in favor of Caribbean and that the Court

  award such other relief as it may deem just and proper.

                                              COUNTERCLAIMS

          1.      Caribbean’s counterclaims consist of claims for damages in excess of $30,000,

  exclusive of attorneys’ fees, interests and costs and a claim for equitable and declaratory relief.

  Caribbean’s nterclaims are exclusively within the subject matter jurisdiction of the circuit court.

          2.      Caribbean’s counterclaims arise out of the same transaction or occurrence set forth

  in SST’s amended complaint, and are compulsory counterclaims within the meaning of Rule

  1.170(a) of the Florida Rules of Civil Procedure.

                                                  Parties

          3.      Defendant/Counter-Plaintiff Caribbean is a Bahamian corporation doing business

  in the State of Florida. It is a retail telecom provider that operates a fiber optic cable system linking

  the Bahamas with the United States. Caribbean’s cable utilizes a submarine conduit owned by Co-

  Defendant Globenet Cabos Submarinos America, Inc.




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         4.      Plaintiff/Counter-Defendant SST is a Florida limited liability company that

  recently purports to have acquired certain submerged lands in the Intracoastal Waterway that are

  described in SST’s Complaint (the “Submerged Lands”).

         5.      Third-party defendant, Board of Trustees of the Internal Improvement Trust Fund

  of the State of Florida (“Trust”) is a legal entity comprised of the Governor of the State of Florida

  and the Governor’s cabinet members. Pursuant to the Florida Constitution, title to lands under

  navigable waters, which have not been specifically alienated, is held by the State in trust for the

  people via the Trust. Pursuant to Rules 1.170(h) and 1.210(a) of the Florida Rules of Civil

  Procedure, the Trust is joined as a third-party defendant in CC’s counterclaims for declaratory

  relief and easement. The Trust has a direct interest in the subject matter of this case and

  Caribbean’s counterclaims, and thus the Trust’s presence as a party is necessary to a complete

  determination of these claims.

                                                 Facts

                                     Telecommunications Project

         6.      From around 1999, Globenet and its predecessors began construction of a fiber

  optic cable system to provide a telecommunications link (including internet service) for parts of

  the Southeastern United States of America and nations in the Caribbean and Latin America

  (“Project”). The Project involved laying a fiber optic cable linking landing stations in Tuckerton,

  New Jersey and Boca Raton, Florida with landing stations in Bermuda, Brazil, Colombia and

  Venezuela. A timeline of relevant milestones in the Project includes the following:

              a. 1999 - The Project begins.

              b. October 1999 – An engineering report for the Project was submitted to relevant

                 federal, state and local government authorities. The Project landed a fiber optic




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              cable in Palm Beach County, with the path of the cable beginning in the Atlantic

              Ocean and traveling westward towards a beach manhole located in Boca Raton,

              Florida. From there, the cable went underground to a cable landing station. En

              route to the landing station, the cable would tunnel underneath a section of the

              Intracoastal Waterway.

           c. December 1999 - The Project’s cable landing license was issued by the Federal

              Communications Commission (FCC).

           d. February 2000 - Third party objections to the Project’s cable landing license were

              lodged. None objections was made by SST or its predecessors.

           e. July 2000 - The Florida Department of Environmental Protection (FDEP) published

              a notice of intent to issue a permit for the Project in the Palm Beach Post. This did

              not result in inquiries or objections to the project being lodged by SST or its

              predecessors.

           f. August 2000 - FDEP issued a permit and intent to grant a sovereign submerged

              land easement for the Project. The Army Corps of Engineers also issued a permit

              for the Project authorizing boring under the ocean and land portions of the path of

              the cable, including the portion passing underneath the Intracoastal Waterway.

           g. September 2000 - The United States of America, acting through the U.S. Army

              Corps of Engineers, issued an easement to Globenet’s predecessor granting it

              permission to construct, use, maintain, repair and remove a fiber optic cable in, on,

              across, over and under a portion of the Intracoastal Waterway.

           h. September 2000 - The State of Florida, acting through the Board of Trustees of the

              Internal Improvement Trust Fund of the State of Florida, also issued an easement




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              to Globenet’s predecessor granting it permission to install four conduits and two

              fiber optic cables passing underneath the Intracoastal Waterway.

           i. October 2000 - Site-related work on the Project commenced.

           j. In March 2001, as-built drawings for the Project were prepared, which included a

              drawing depicting the as-built location and legal description of the portion of the

              cable that tunnels underneath the Intracoastal Waterway. Upon information and

              belief, due to an administrative error, the legal description forwarded to FDEP for

              the portion of the cable that tunnels underneath the Intracoastal Waterway

              referenced the wrong as-built drawing.

           k. October 2001 – An updated legal description was provided to FDEP reflecting the

              as-built location of the portion of the cable tunneling underneath the Intracoastal

              Waterway.

           l. November 2002 - Brasil Telecom S.A. purchased all rights in the Project from its

              previous owners.

           m. May 2003 - The federal easement for the Project was updated to identify a Brasil

              Telecom S.A. affiliate, Brasil Telecom of America, Inc., as the federal easement

              grantee.

           n. September 2003 - The state easement for the Project was updated to identify Brasil

              Telecom of America, Inc. as the state easement grantee.

           o. January 2014 - Brasil Telecom of America, Inc. changed its name to the “Globenet

              Cabos Submarinos America Inc.”




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                                            U.S. Easements

         7.      The September 2000 and May 2003 easements the United States granted rights to

  Globenet and its predecessor in connection with construction of the Project (“U.S. Easements”)

  See attached Exhibits A and B.

         8.      The U.S. Easements grant Globenet rights that are terminable only in three

  scenarios: (1) if the Project interferes with the Government’s use of the Intracoastal Waterway; (2)

  if Caribbean fails to comply with the conditions stated in the U.S. Easements, or (3) if Caribbean

  abandons or fails to utilize its federal easement rights for a period of two years. None of these

  conditions has been triggered.

         9.      Due to a scrivener’s error, the U.S. Easements identify the wrong federal tract

  numbers. The tracts are identified as nos. 908 and 909 on the first page thereof, when these should

  have been identified as 910 and 911. Upon information and belief, this error occurred because

  there were several prior renumberings of the tracts that took place and led to the confusion along

  with a change in the as-built location of the cable. This error has been corrected. See Exhibit C.

         10.     Despite the scrivener’s error, the United States has a superior interest over all others

  to the Submerged Lands, and has the power to give Globenet a federal easement corresponding to

  the as-built subterranean path traversed by Caribbean’s cable through the Submerged Lands.

  Pursuant to the rights it received, Globenet had the right to authorize Caribbean to use its cable

  system.

                                    The Federal Source of Rights
                                    Granted in the U.S. Easements

         11.     The United States derives the right to grant Caribbean the U.S. Easements from the

  constitutional and congressional mandate the United States Government has to regulate navigable

  waters. The Government’s rights in this regard are superior to all other interests. See Zabel v.



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  Tabb, 430 F.2d 199, 203-206 (5th Cir. 1970) (describing the paramount federal easement right in

  navigable waters of the United States deriving from Commerce Clause of the United States

  Constitution and Section 1314(a) of the Submerged Lands Act); 43 USC § 1314 (a) (“The United

  States retains all its navigational servitude and rights in and powers of regulation and control of

  said lands and navigable waters for the constitutional purposes of commerce, navigation, national

  defense, and international affairs, all of which shall be paramount to … proprietary rights of

  ownership, or the rights of management, administration, leasing, use, and development of the lands

  and natural resources ….”).

         12.     The United States Government’s grant of rights to Globenet is also grounded in a

  federal judgment. The United States was specifically granted a perpetual easement in the undersea

  property at issue in this case via a final judgment issued by a federal court in 1935 in a

  condemnation proceeding. The petition for condemnation and resulting final judgment are

  attached hereto as Exhibits G and H, respectively. The federal condemnation judgment enabled

  construction of the widening of the Intracoastal Waterway at issue in this case, and granted the

  United States perpetual easement rights to use and maintain it.

                                Florida’s Title to the Submerged Lands

         13.     Despite Plaintiff’s purported ownership claim in the Submerged Lands, the State of

  Florida, acting through the Trust, has been and remains the actual fee simple owner of the

  Submerged Lands. At a minimum, the Trust’s title interest arises pursuant to the federal equal-

  footing doctrine, which, upon statehood, vested title to submerged lands within Florida borders

  and under navigable waters to the State of Florida. Id.; see also PPL Mont., LLC v. Montana, 565

  U.S. 576, 591 (2012) (“The title consequences of the equal-footing doctrine can be stated in

  summary form: Upon statehood, the State gains title within its borders to the beds of waters then




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  navigable [or tidally influenced]. It may allocate and govern those lands according to state law

  subject only to ‘the paramount power of the United States to control such waters for purposes of

  navigation in interstate and foreign commerce.’”) (citations omitted) (reversing state supreme

  court judgment which misapplied federal rules for determining navigability for title under the equal

  footing doctrine when resolving title dispute between the state and a private party).

         14.     The equal footing doctrine was later recognized and incorporated into the Florida

  Constitution. Fla. Const. Art. X, § 11 (adopted 1970) (“The title to lands under navigable waters,

  within the boundaries of the state, which have not been alienated … is held by the state, by virtue

  of its sovereignty, in trust for all the people. Sale of such lands may be authorized by law, but only

  when in the public interest. Private use of portions of such lands may be authorized by law, but

  only when not contrary to the public interest.”).

                                           Florida Easements

         15.     Globenet and its predecessor also obtained the requisite permits for the project and

  additionally obtained the September 2000 and September 2003 easements from the Trust (“Florida

  Easements”) who asserted sovereign ownership of the Submerged Lands. The Florida Easements

  are attached as Exhibits I and J.

         16.     Globenet and its predecessor paid the Trust $185,000 for the Florida Easements to

  the Submerged Lands, as along with Trust approval to proceed with the portion of the Project

  tunneling underneath the Intracoastal Waterway.

         17.     Globenet’s recorded Florida Easements were not updated by the State to include

  the corrected legal description showing the final as-built location of Caribbean’s cable. As a

  consequence, there is a small discrepancy between the legal description in the Florida Easements

  and the actual subterranean path traversed by Globenet’s cable through the Submerged Lands.




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  Upon information and belief, Globenet has initiated the process to correct these administrative

  errors with State authorities.

         18.     The records showing the construction of the Globenet’s cable system are publicly

  available.

         19.     The records showing the correct legal description for the location of Globenet’s

  cable is publicly- available.

         20.     Prior to purportedly purchasing the Submerged Lands, SST had in its possession

  certain as-built drawings that showed the actual location of Globenet’s cable and which contained

  the correct legal description for the easement to be provided by the State of Florida.

         21.      Despite the administrative error, the actual cable path still passes under sovereign

  submerged lands of the State of Florida. Except for the interests of the federal government, the

  State of Florida has a superior ownership interest over all others to the Submerged Lands.

  Consequently, the Trust has the power to correct the Florida Easements to reflect the intent of the

  State of Florida to give Caribbean a state sovereign submerged lands easement corresponding to

  the as-built subterranean path traversed by Caribbean’s cable through the Submerged Lands

                             Project Completion and Ongoing Operations

         22.     In or around 2001, Globenet completed the Project in the ICW. Since that time, the

  fiber optic cable installed by Globenet has provided telecommunication services to the

  Southeastern United States and to locations in the Caribbean and Latin America. Caribbean’s own

  cable has been in place since around that time as well. The United States Government’s approval

  of the Project, which includes a determination that the project is in the public interest, remains in

  place. Upon information and belief, the Department of Homeland Security also now considers




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  Globenet’s fiber optic cable to be vital to national security as Globenet must advise it of any

  significant matters affect the cable.

                SST’s Unfounded Title Claim to Seabed of the Intracoastal Waterway

         23.     Globenet’s fiber optic cable traverses constructed tunnels underneath a portion of

  seabed of the Intracoastal Waterway located in Palm Beach County, Florida.

         24.     In 2016 and 2017, SST alleges to have acquired a fee simple interest in a portion of

  submerged lands in the Intracoastal Waterway that lie vertically above the path of the location of

  the fiber optic cable (i.e., the Submerged Lands). Estates of deceased private citizens, some closed

  for 20 years, were suddenly reopened for the sole purpose of purportedly conveying these interests

  for mere nominal value, to SST by warranty deeds. Armed with these “warranty deeds,” SST

  contends in its amended complaint to assert a title interest in the Submerged Lands..

                                          Caribbean’s Fiber Optics Cable

         25.     By way of Caribbean’s conduit, Caribbean’s fiber optics cable traverses the

  Submerged Lands in the intracoastal waterway (ICW) in Palm Beach County.

         26.     Caribbean’s fiber optics cable and Globenet’s conduit system through which it

  passes, have been in place for two decades pursuant to easement rights granted to Caribbean by

  the State of Florida and the federal government.

         27.     Globenet has valid federal and state easement rights over the Submerged Lands.

  Pursuant to those rights, Globenet had the right and authority to allows companies like Caribbean

  to use its cable system.

         28.     All conditions precedent to the maintenance of this action have been satisfied or

  waived.




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                                               Count I
                                          Declaratory Relief
                                     (Against SST and The Trust)

          29.    Caribbean incorporates by reference paragraphs 1 through 28 above.

          30.    This is a claim for declaratory judgment against SST and the Trust pursuant to

  Chapter 86, Fla. Stat., and for supplemental and equitable relief.

          31.    As set forth above, an actual controversy has arisen between the parties to this

  action regarding the ownership status of the Submerged Lands as sovereign submerged lands. SST

  asserts it is the owner of the Submerged Lands and that its rights are superior to all others, including

  the State.

          32.    The Trust, through its Florida Easements in favor of Globenet, has asserted since

  at least 2000 that it is the owner of the Submerged Lands. In the Florida Easements, it repeatedly

  referred to the Submerged Lands as “sovereign submerged lands”. In the easement granted to

  Caribbean, the Trust similarly referred to the submerged lands as “sovereign submerged lands.”

  Additionally, the legal descriptions that were or should have been used with the Florida easements

  make clear that those easements extend from a point on the west seawall of the ICW to a point on

  the east seawall of the ICW, thus encompassing the Submerged Lands over which SST claims to

  own.

          33.    Caribbean acquired rights to use the Globenet cable system based on the both the

  superior rights of the United States and the Trust’s sovereignty rights in the Submerged Lands.

          34.    Consequently, Caribbean is unsure of its rights. There is a bona fide, actual, present

  practical need for a declaration regarding Caribbean’s rights to operate its fiber optic cable in the

  conduit that encases it.




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          35.      The declaration sought herein thus concerns a present, ascertained, or ascertainable

  set of facts or present controversy to a state of facts. Such declaration will not be advisory in nature.

          WHEREFORE, Caribbean seeks a declaration that:

                a. The Submerged Lands consist of sovereign submerged lands that are owned in fee

                   by the State of Florida (acting via the Trust), subject to prior rights duly acquired

                   by the United States via the United States Constitution, authorizing Congressional

                   legislation, and a final judgment in the federal condemnation proceeding, thereby

                   rendering SST’s deeds null and void and without force and effect;

                b. Globenet has an interest in the Submerged Lands as a result of a valid and express

                   easement it acquired from and the United States, and that such easement rights are

                   paramount to the rights of any owner of the Submerged Lands and that, as a result,

                   Globenet was authorized to allow Caribbean and others to use its cable system;

                c. Globenet has an interest in the Submerged Lands as a result of the valid express

                   easement it acquired from the State of Florida (acting via the Trust) and that, as a

                   result, Globenet was authorized to allow Caribbean and others to use its cable

                   system;

                d. Even if the Submerged Lands were ever privately held, SST, through its

                   predecessor in interest, was properly compensated for the Submerged Lands in the

                   1933 Condemnation Proceeding or, alternatively, SST’s action is an improper

                   collateral attack on the 1935 judgment that resulted from that proceeding;

                e. Caribbean has an interest in the Submerged Lands as a result of the valid express

                   easement from the State of Florida (acting via the Trust), and the rights granted to

                   it by Globenet; and




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                 f. And, such other relief as this Court deems just and proper.

                                                 Count II
                                                 Easement
                                               (Against SST)

           36.      Caribbean incorporates by reference paragraphs 1 through 28 above.

           37.      This is an action to establish an easement in favor of Caribbean in that portion of

  the Submerged Lands under which its fiber optic cable traverses, as reflected by its continuous use

  of the Submerged Lands, the U.S. Easements to Globenet pursuant to which Caribbean obtained

  its rights, the easement in favor of Caribbean from the Trust, and also as shown in the recorded

  Florida Easements (granted via the Trust) pursuant to which Caribbean also obtained its rights.

           WHEREFORE, Caribbean demands judgment in its favor and against South Spanish Trail

  that it has an express easement over and across such part of the Subject Property that is covered

  by its fiber optic cable, an award of costs of this action and such other and further relief as the

  Court deems just and proper.

                                                Count III
                                          Prescriptive Easement
                                           (Against SST only)

           38.      Caribbean incorporates by reference paragraphs 1 through 4, 6 and 22 through 25

  above.

           39.      This is an action in the alternative to establish a prescriptive easement in favor of

  Caribbean through that portion of the Submerged Lands under which its cable traverses.

           40.      There has been actual, continuous and uninterrupted use by the public, Globenet

  and its predecessors in title, and Caribbean of the Submerged Lands for at least twenty years. The

  uses have related to a certain, limited and defined area of land.




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          41.     If SST has an ownership interest in the Submerged Lands superior to that of the

  Trust, and superior to any interest of Caribbean, the uses of the lands by the public, Globenet and

  its predecessors, and Caribbean have been either with the actual knowledge of SST and/or its

  predecessors, or were so open, notorious and visible that knowledge of the uses must be imputed

  to SST and/or its predecessors. Such uses have been without the express or implied permission of

  SST and/or its predecessors such that for the entire period SST and/or its predecessors could have

  sued to prevent further use.

          WHEREFORE, Caribbean demands judgment in its favor and against SST that Caribbean

  has a valid prescriptive easement rights over and across such part of the Submerged Lands that is

  covered by the Caribbean’s fiber optic cable, an award of costs of this action and such other and

  further relief as the Court deems just and proper.

                                      JURY TRIAL DEMAND

          Caribbean demands a trial by jury on all issues, defenses, affirmative defenses and claims

  so triable as a matter of right.

  Dated: October 19, 2020                       Respectfully submitted,


                                                GREENBERG TRAURIG, P.A.
                                                333 S.E. 2nd Avenue, Suite 4400
                                                Miami, Florida 33131
                                                Telephone: (305) 579-0500
                                                Facsimile: (305) 579-0717

                                                By: s/ Humberto H. Ocariz
                                                   HUMBERTO H. OCARIZ
                                                   Florida Bar No. 740860
                                                   Email: ocarizb@gtlaw.com
                                                          belloy@gtlaw.com
                                                   JARED R. KESSLER
                                                   Florida Bar No. 96020
                                                   Email: kesslerj@gtlaw.com
                                                          cruzm@gtlaw.com



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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed

  with the Clerk of the Court using the Florida Courts E-Filing Portal. I also certify that the

  foregoing document is being served this 19th day of October, 2020, by e-mail generated by the E-

  Portal system on all counsel of record listed below.

                                                     s/ Humberto H. Ocariz
                                                     HUMBERTO H. OCARIZ



                                        SERVICE LIST

  Ricardo A. Reyes, Esq.
  Sacha A. Boegem, Esq.
  TOBIN & REYES, P.A.
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  Email: rar@tobinreyes.com
         sboegem@tobinreyes.com
         eservice@tobinreyes.com

  Counsel for Plaintiff, South Spanish Trail, LLC




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                            EXHIBIT &
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                                     140
                                DEPARTMENT OF THE ARMY
                           JACKSONVILLE DISTRICT, CORPS OF ENGINEERS
                                     701 SAN MARCO BLVD
                                JACKSONVILLE, FLORIDA 32207-8175


                                        July 15, 2020




  Mr. Nicholas Barshel
  Akerman LLP
  98 Southeast Seventh Street, Suite 1100
  Miami, Florida 33131
  Sent via email only to Nicholas.barshel@akerman.com

  Dear Mr. Barshel:

    Enclosed please find an executed copy of Department of the Army Corrective
  Consent to Easement No. DACW17-9-03-0084. This contains the correct tract numbers
  where the fiber optic cable is located in the Federal right-of-way of the Intracoastal
  Waterway, Jacksonville to Miami Project, Palm Beach County, Florida.

     Should you have any questions, please contact Bertha Miller, Realty Specialist, at
  (904) 232-3727 or email: bertha.a.miller@usace.army.mil.

                                               Sincerely,

                                                                    Digitally signed by
                                                MCQUILLEN.TIMOTH    MCQUILLEN.TIMOTHY.HART.10505
                                                                    83305
                                                Y.HART.1050583305   Date: 2020.07.15 14:49:13 -04'00'



                                               Timothy H. McQuillen
                                               Chief, Real Estate Division

  Enclosure




                                                                                                   Globenet-SST-001663
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                                                              Globenet-SST-001666
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                 15th



                                                   Digitally signed by
                               MCQUILLEN.TIMOTH    MCQUILLEN.TIMOTHY.HART.10505833
                                                   05
                               Y.HART.1050583305   Date: 2020.07.15 14:50:51 -04'00'




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                                                              Globenet-SST-001668
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                                                              Globenet-SST-001669
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                                                              Globenet-SST-001670
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                                                              Globenet-SST-001672
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                                                     SURVEYOR'S NOTES

         1. Bearings shown hereon are referenced to the North line of Section 29, Town
            East, having a bearing of South 88°57'20" West and all others are relative the

         2. There has been no attempt to locate any underground utilities or improveme

         3. Additions and or deletions to this survey by other than the signing party (or p
            the written consent of the signing party (or parties).

          4. Coordinates shown hereon are referenced to the State Plane Coordinate Sys
             North American Datum 1983, adjustment of 2011 and are further referenced
             Real-Time Network as verified by repeated ties to various NGS Horizontal Co
             vicinity of the project.

         NOTE: Following documents 5 - 11 were provided by the client.

         5. Michael Baker Jr., Inc document submitted to Florida Department of Environm
              October 29, 2001; Ref.: Easement No. 30537; BOT File No. 500221236; PA
              Showing the As-built drawing, Easement drawing and legal descriptions of
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                                                 (70006)
                                                 FND P.K.W.
                                                 "AVIROM & ASSOC. LB3300"
                                                 CCR# 052575
                                                 N:734185.46 E:957567.41




                                                  P.O.C.




                                                                            SE 5TH AVE
         10' WIDE
           OF FIBER
             (BAKER E

                  ASBUILT
                    O
                      NGINEER
                      PTIC BOR
                          SURVEY
                              ING)
                               ING




                                                     1.37'
                                                           P.O.B.
                                                           SUBJECT
                                      9.72'                PROPERTY
                                         9.74'
                                                  0.54'
                        (70067)
                OFFSET 6' WEST                            FND 16D N&W
                                                          "McLAUGHLIN
                                                          ENG. CO. 285"




                                     DETAIL "C"
                                       1"=10'
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                                                             10' WIDE ASBUILT SURVEY
                                                               OF FIBER OPTIC BORING
                                                                 (BAKER ENGINEERING)
    Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 74 of
                                         140



From:                nicholas.barshel@akerman.com
Sent:                Monday, July 13, 2020 4:27 PM
To:                  Bertha.A.Miller@usace.army.mil
Cc:                  Emmanuel.J.Freeman@usace.army.mil
Subject:             RE: Correction - Consent to Easement Agreement (DACW17-9-03-0084) (UNCLASSIFIED)
Attachments:         SIGNED CONSENT TO EASEMENT.pdf

Follow Up Flag:      Follow up
Due By:              Wednesday, July 15, 2020 4:00 PM
Flag Status:         Flagged


GoodafternoonBertha,wereviewedtheCorrectiveConsentandourclienthassignedit.Seeattachedfortheexecuted
copy.PleasekeepusupdatedonfinalapprovalandsignaturebyUSACE.Thankyouverymuchforallyourassistance,

NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:MILLER,BerthaACIVUSARMYCESAJ(USA)
Sent:Friday,July10,20202:16PM
To:Barshel,Nicholas(AssocͲMia)
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)(UNCLASSIFIED)

Mr.Barshel,
PleasefindattachedtheCorrectiveDepartmentoftheArmyConsenttoEasementDACW17Ͳ9Ͳ03Ͳ0084thatreflectsthe
properTractNumbers(910and911)wheretheburiedconduitislocatedintheIntracoastalWaterwayandincludesthe
propernameofGlobenetCabosSubmarinosAmerica,Inc.formerlyknownasBrasilTelecomofAmerica,Inc.This
CorrectiveConsenttoEasementreplacesthepreviousConsent.

Ifthesecorrectionsareacceptable,yourclientcansignandreturntomebyemailsowecanexpeditethismatter.Just
knowthatifadditionalchangesaremadebymyleadership,arevisedConsentmaybenecessary.

v/r,

BerthaA.Miller
RealtySpecialist
U.S.ArmyCorpsofEngineers
JacksonvilleDistrict
RealEstateDivision
P.O.Box4970
Jacksonville,FL32232Ͳ0019
tel.904Ͳ232Ͳ3727
emailbertha.a.miller@usace.army.mil


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                                         140

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:nicholas.barshel@akerman.com[mailto:nicholas.barshel@akerman.com]
Sent:Friday,July10,202010:51AM
To:McQuillen,TimothyHartCIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>;MILLER,BerthaACIV
USARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil>;FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)
<Emmanuel.J.Freeman@usace.army.mil>
Cc:Nelson,DonaldGCIVUSARMYCESAJ(US)<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ
(US)<John.W.Bearce@usace.army.mil>;Fountain,AshleighHCIVUSARMYCESAJ(USA)
<Ashleigh.H.Fountain@usace.army.mil>
Subject:[NonͲDoDSource]RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)(UNCLASSIFIED)

Followinguponthis.Canyouallpleaseletmeknowastatusupdate.WeinitiallysentthisrequestonApril17anditis
veryimportanttoourclienttogetthiscorrectedtoensuretheeasementreflectswheretheyhavearighttousefederal
rightofway.Thankyou,

NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:McQuillen,TimothyHartCIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>
Sent:Tuesday,July7,20209:01AM
To:MILLER,BerthaACIVUSARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil>;FREEMAN,EmmanuelJCIVUSARMY
CESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil>
Cc:Nelson,DonaldGCIVUSARMYCESAJ(US)<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ
(US)<John.W.Bearce@usace.army.mil>;Fountain,AshleighHCIVUSARMYCESAJ(USA)
<Ashleigh.H.Fountain@usace.army.mil>;Barshel,Nicholas(AssocͲMia)<nicholas.barshel@akerman.com>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)(UNCLASSIFIED)

CLASSIFICATION:UNCLASSIFIED

Emman,BerthaͲWhatisthestatus?Pleaseletusknowwherethisisinthequeueforreview.

V/r,
TimothyH.McQuillen
Chief,RealEstateDivision
USACEͲJacksonvilleDistrict

O:904Ͳ232Ͳ1170
C:904Ͳ629Ͳ7126
timothy.h.mcquillen@usace.army.mil

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:nicholas.barshel@akerman.com[mailto:nicholas.barshel@akerman.com]
Sent:Monday,July6,20203:25PM
To:MILLER,BerthaACIVUSARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil>
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil>;McQuillen,TimothyHart
CIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>;Nelson,DonaldGCIVUSARMYCESAJ(US)


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                                                                                             Globenet-SST-001677
   Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 76 of
                                        140
<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil>;
Fountain,AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil>
Subject:[NonͲDoDSource]RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)

Hello,canyoupleaseletmeknowifyouhaveanupdateonstatusofthiseasementcorrection?

Thankyou,

NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:Barshel,Nicholas(AssocͲMia)
Sent:Monday,June29,202011:07AM
To:'MILLER,BerthaACIVUSARMYCESAJ(USA)'<Bertha.A.Miller@usace.army.mil>
Cc:'FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)'<Emmanuel.J.Freeman@usace.army.mil>;'McQuillen,Timothy
HartCIVUSARMYCESAJ(USA)'<Timothy.H.Mcquillen@usace.army.mil>;'Nelson,DonaldGCIVUSARMYCESAJ(US)'
<Donald.G.Nelson@usace.army.mil>;'Bearce,JohnWCIVUSARMYCESAJ(US)'<John.W.Bearce@usace.army.mil>;
'Fountain,AshleighHCIVUSARMYCESAJ(USA)'<Ashleigh.H.Fountain@usace.army.mil>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)

Goodmorning,canyoupleaseletmeknowifyouhaveanupdateonstatusofthiseasementcorrection.Thankyou,

NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:Barshel,Nicholas(AssocͲMia)
Sent:Monday,June22,20209:53AM
To:'MILLER,BerthaACIVUSARMYCESAJ(USA)'<Bertha.A.Miller@usace.army.mil>
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil>;McQuillen,TimothyHart
CIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>;Nelson,DonaldGCIVUSARMYCESAJ(US)
<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil>;
Fountain,AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)

Goodmorning,checkinginonthismatter.Canyoupleaseletmeknowifyouhaveanupdateonstatusofthiseasement
correctionafterlastweek.Thankyou,

NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ

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                                                                                         Globenet-SST-001678
    Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 77 of
                                         140
From:MILLER,BerthaACIVUSARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil>
Sent:Friday,June12,202012:30PM
To:Barshel,Nicholas(AssocͲMia)<nicholas.barshel@akerman.com>
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil>;McQuillen,TimothyHart
CIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>;Nelson,DonaldGCIVUSARMYCESAJ(US)
<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil>;
Fountain,AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)

Mr.Barshel,
Pleaseallowmethroughnextweek.Ihavenothadachancetoworkonthis.

Thankyou,

BerthaA.Miller
RealtySpecialist
U.S.ArmyCorpsofEngineers
JacksonvilleDistrict
RealEstateDivision
P.O.Box4970
Jacksonville,FL32232Ͳ0019
tel.904Ͳ232Ͳ3727
emailbertha.a.miller@usace.army.mil


ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:nicholas.barshel@akerman.com[mailto:nicholas.barshel@akerman.com]
Sent:Friday,June12,20209:04AM
To:MILLER,BerthaACIVUSARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil>
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil>;McQuillen,TimothyHart
CIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>;Nelson,DonaldGCIVUSARMYCESAJ(US)
<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil>;
Fountain,AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil>
Subject:[NonͲDoDSource]RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)

Goodmorning,couldyoupleaseletmeknowthestatusofthiseasementcorrection?



Wewouldbegladtohelpexpediteifpossible,astheclientislookingtogetthiswrappedupassoonaspossible.Thank
you,



NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com>


From:Barshel,Nicholas(AssocͲMia)

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                                                                                            Globenet-SST-001679
   Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 78 of
                                        140
Sent:Monday,May11,20203:08PM
To:'MILLER,BerthaACIVUSARMYCESAJ(USA)'<Bertha.A.Miller@usace.army.mil>
Cc:'FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)'<Emmanuel.J.Freeman@usace.army.mil>;'McQuillen,Timothy
HartCIVUSARMYCESAJ(USA)'<Timothy.H.Mcquillen@usace.army.mil>;'Nelson,DonaldGCIVUSARMYCESAJ(US)'
<Donald.G.Nelson@usace.army.mil>;'Bearce,JohnWCIVUSARMYCESAJ(US)'<John.W.Bearce@usace.army.mil>;
'Fountain,AshleighHCIVUSARMYCESAJ(USA)'<Ashleigh.H.Fountain@usace.army.mil>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)



GoodafternoonBertha,followinguponthebelow.Pleaseletmeknowifyouhaveanupdateonstatusofthiseasement
correction?



Thankyou,



NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com>


From:Barshel,Nicholas(AssocͲMia)
Sent:Wednesday,April29,20202:36PM
To:'MILLER,BerthaACIVUSARMYCESAJ(USA)'<Bertha.A.Miller@usace.army.mil
<mailto:Bertha.A.Miller@usace.army.mil<span="">>>
Cc:'FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)'<Emmanuel.J.Freeman@usace.army.mil
<mailto:Emmanuel.J.Freeman@usace.army.mil<span="">>>;'McQuillen,TimothyHartCIVUSARMYCESAJ(USA)'
<Timothy.H.Mcquillen@usace.army.mil<mailto:Timothy.H.Mcquillen@usace.army.mil<span="">>>;'Nelson,DonaldG
CIVUSARMYCESAJ(US)'<Donald.G.Nelson@usace.army.mil<mailto:Donald.G.Nelson@usace.army.mil<span="">>>;
'Bearce,JohnWCIVUSARMYCESAJ(US)'<John.W.Bearce@usace.army.mil<mailto:John.W.Bearce@usace.army.mil<
span="">>>;'Fountain,AshleighHCIVUSARMYCESAJ(USA)'<Ashleigh.H.Fountain@usace.army.mil
<mailto:Ashleigh.H.Fountain@usace.army.mil<span="">>>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)



GoodafternoonBertha,justfollowingupontheeasementcorrectiondiscussedbelow.Pleaseletmeknowifyouhavea
senseoftimeonwhenitmaybeissued?



Thankyou,



NicholasBarshel
Associate

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                                                                                         Globenet-SST-001680
   Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 79 of
                                        140
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com>


From:Barshel,Nicholas(AssocͲMia)
Sent:Friday,April17,202011:18AM
To:'MILLER,BerthaACIVUSARMYCESAJ(USA)'<Bertha.A.Miller@usace.army.mil
<mailto:Bertha.A.Miller@usace.army.mil<span="">>>
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil
<mailto:Emmanuel.J.Freeman@usace.army.mil<span="">>>;McQuillen,TimothyHartCIVUSARMYCESAJ(USA)
<Timothy.H.Mcquillen@usace.army.mil<mailto:Timothy.H.Mcquillen@usace.army.mil<span="">>>;Nelson,DonaldG
CIVUSARMYCESAJ(US)<Donald.G.Nelson@usace.army.mil<mailto:Donald.G.Nelson@usace.army.mil<span="">>>;
Bearce,JohnWCIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil<mailto:John.W.Bearce@usace.army.mil<
span="">>>;Fountain,AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil
<mailto:Ashleigh.H.Fountain@usace.army.mil<span="">>>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)



Thankyouverymuchforthepromptreply.Pleaseletmeknowifyouhaveanyquestionswhileprocessingtherevised
Consent.Iamveryfamiliarwiththismatterandwouldbehappytoassistasneeded.



NicholasBarshel

Associate

AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131

D:3059825538

nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com>



ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:MILLER,BerthaACIVUSARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil
<mailto:Bertha.A.Miller@usace.army.mil<span="">>>
Sent:Friday,April17,202010:20AM
To:Barshel,Nicholas(AssocͲMia)<nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com<span="">>
>
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil
<mailto:Emmanuel.J.Freeman@usace.army.mil<span="">>>;McQuillen,TimothyHartCIVUSARMYCESAJ(USA)
<Timothy.H.Mcquillen@usace.army.mil<mailto:Timothy.H.Mcquillen@usace.army.mil<span="">>>;Nelson,DonaldG
CIVUSARMYCESAJ(US)<Donald.G.Nelson@usace.army.mil<mailto:Donald.G.Nelson@usace.army.mil<span="">>>;
Bearce,JohnWCIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil<mailto:John.W.Bearce@usace.army.mil<
span="">>>;Fountain,AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil
<mailto:Ashleigh.H.Fountain@usace.army.mil<span="">>>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)


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                                                                                        Globenet-SST-001681
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                                        140
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
Mr.Barshel,

Thankyouforidentifyingthiserror.Wewillmakethecorrectiontoreflecttherighttractnumbersbasedonthe
informationyouprovidedus.AnewConsenttoEasementwillneedtobeissuedandwillbeprovidedtoyousoonfor
yourclient'ssignature.



Pleasefeelfreetocontactmeforanyquestions.



Respectfully,



BerthaA.Miller

RealtySpecialist

U.S.ArmyCorpsofEngineers

JacksonvilleDistrict

RealEstateDivision

P.O.Box4970

Jacksonville,FL32232Ͳ0019

tel.904Ͳ232Ͳ3727

emailbertha.a.miller@usace.army.mil<mailto:bertha.a.miller@usace.army.mil>

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
ͲͲͲͲͲOriginalMessageͲͲͲͲͲ

From:nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com>
[mailto:nicholas.barshel@akerman.com]

Sent:Friday,April17,20209:42AMto

To:McQuillen,TimothyHartCIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil
<mailto:Timothy.H.Mcquillen@usace.army.mil<span="">>>;MILLER,BerthaACIVUSARMYCESAJ(USA)
<Bertha.A.Miller@usace.army.mil<mailto:Bertha.A.Miller@usace.army.mil<span="">>>;Nelson,DonaldGCIV
USARMYCESAJ(US)<Donald.G.Nelson@usace.army.mil<mailto:Donald.G.Nelson@usace.army.mil<span="">>>;
Bearce,JohnWCIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil<mailto:John.W.Bearce@usace.army.mil<

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                                                                                         Globenet-SST-001682
    Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 81 of
                                         140
span="">>>;Fountain,AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil
<mailto:Ashleigh.H.Fountain@usace.army.mil<span="">>>

Subject:[NonͲDoDSource]CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)



Goodmorningall,







IamreachingouttotheUSACERealEstateDivisiononbehalfofourclientGlobenetCabosSubmarinosAmerica,Inc.,
f/k/aBrasilTelecomofAmerica,Inc.(“Globenet”),whoisthegranteeunderConsenttoEasementAgreementDACW17Ͳ
9Ͳ03Ͳ0084(“Easement”).TheEasementallowsuseoffederalrightͲofͲwayintheAtlanticIntracoastalWaterwayofPalm
BeachCountyforburiedconduit.TheinstallationofthisburiedconduitwaspermittedbyUSACEunderDAPermitNo.
199905552(“Permit”).







Thereisanerrorinthe“TractNumbers”referencedintheEasementthatresultsintheeasementareapotentially
excludingthelocationwheretheburiedconduitwasactuallyinstalled.TheEasementstatesthatGlobenethasrightsto
usefederalrightͲofͲwayidentifiedasTracts908and909onExhibitA,andthatconstructionshallbeinaccordancewith
PermitdrawingsinExhibitB.TheissueisthatthesketchedlocationinExhibitBisoutsideofTracts908/909onthe
USACE“ProjectMap”referencedinExhibitA.In2001,MichaelBakerJr.,Inc.preparedalegaldescriptionandsurvey
identifyingtheasͲbuiltlocationoftheburiedconduit.GlobenetobtainedasurveythatconfirmsthisasͲbuiltconduitis
southofTracts908/909intheEasement,andinsteadislocatedwithinTracts910and911ontheProjectMap.







Atthistime,wearerequestingacorrectiontotheEasementtoreflecttheproperTractNumbers(910and911)where
theburiedconduitislocatedintheIntracoastalWaterway.InfurtheranceofthisEasementcorrection,wehaveattached
thefollowing:







*CopyoftheEasement;

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                                                                                            Globenet-SST-001683
    Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 82 of
                                         140

*CopyoftheProjectMap;

*2001correspondencewithasͲbuiltsurveyandthecorrectlegaldescription,reflectingwheretheconduitwasburied;
and

*2019boundarysurveyconfirmingtherelativelocationsofTracts908to911andtheasͲbuiltconduit.
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
Pleaseletusknowifyouhaveanyadditionalquestionsorneedanythingfromus,aswewouldliketohavethis
correctionprocessedassoonaspossible.Thankyouforyourassistance,







NicholasBarshel

Associate

AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131

D:3059825538

nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com><mailto:nicholas.barshel@akerman.com
<mailto:nicholas.barshel@akerman.com<span="">>>
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vCard|Profile
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CONFIDENTIALITYNOTE:Theinformationcontainedinthistransmissionmaybeprivilegedandconfidential,andis
intendedonlyfortheuseoftheindividualorentitynamedabove.Ifthereaderofthismessageisnottheintended
recipient,youareherebynotifiedthatanydissemination,distributionorcopyingofthiscommunicationisstrictly


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                                                                                           Globenet-SST-001684
    Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 83 of
                                         140
prohibited.Ifyouhavereceivedthistransmissioninerror,pleaseimmediatelyreplytothesenderthatyouhave
receivedthiscommunicationinerrorandthendeleteit.Thankyou.
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CLASSIFICATION:UNCLASSIFIED




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                                                                                            Globenet-SST-001685
    Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 84 of
                                         140

Barshel, Nicholas (Assoc-Mia)

From:                               Barshel, Nicholas (Assoc-Mia)
Sent:                               Friday, April 17, 2020 9:42 AM
To:                                 'Timothy.H.Mcquillen@usace.army.mil'; 'Bertha.A.Miller@usace.army.mil';
                                    'Donald.G.Nelson@usace.army.mil'; 'John.W.Bearce@usace.army.mil';
                                    'Ashleigh.H.Fountain@usace.army.mil'
Subject:                            Correction - Consent to Easement Agreement (DACW17-9-03-0084)
Attachments:                        Consent to Easement Agreement.PDF; USACE Project Map.PDF; Correspondence re As-
                                    Built Conduit.PDF; Boundary Survey.PDF



Good morning all,

I am reaching out to the USACE Real Estate Division on behalf of our client Globenet Cabos Submarinos America,
Inc., f/k/a Brasil Telecom of America, Inc. (“Globenet”), who is the grantee under Consent to Easement
Agreement DACW17-9-03-0084 (“Easement”). The Easement allows use of federal right-of-way in the Atlantic
Intracoastal Waterway of Palm Beach County for buried conduit. The installation of this buried conduit was
permitted by USACE under DA Permit No. 199905552 (“Permit”).

There is an error in the “Tract Numbers” referenced in the Easement that results in the easement area
potentially excluding the location where the buried conduit was actually installed. The Easement states that
Globenet has rights to use federal right-of-way identified as Tracts 908 and 909 on Exhibit A, and that
construction shall be in accordance with Permit drawings in Exhibit B. The issue is that the sketched location in
Exhibit B is outside of Tracts 908/909 on the USACE “Project Map” referenced in Exhibit A. In 2001, Michael
Baker Jr., Inc. prepared a legal description and survey identifying the as-built location of the buried
conduit. Globenet obtained a survey that confirms this as-built conduit is south of Tracts 908/909 in the
Easement, and instead is located within Tracts 910 and 911 on the Project Map.

At this time, we are requesting a correction to the Easement to reflect the proper Tract Numbers (910 and 911)
where the buried conduit is located in the Intracoastal Waterway. In furtherance of this Easement correction,
we have attached the following:

    x   Copy of the Easement;
    x   Copy of the Project Map;
    x   2001 correspondence with as-built survey and the correct legal description, reflecting where the conduit
        was buried; and
    x   2019 boundary survey confirming the relative locations of Tracts 908 to 911 and the as-built conduit.

Please let us know if you have any additional questions or need anything from us, as we would like to have this
correction processed as soon as possible. Thank you for your assistance,

Nicholas Barshel
Associate
Akerman LLP | 98 Southeast Seventh Street, Suite 1100 | Miami, FL 33131
D: 305 982 5538
nicholas.barshel@akerman.com



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                                                                                         Globenet-SST-001686
Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 85 of
                                     140




                                                                  SST 000292
                                                              Globenet-SST-001687
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                                     140




                                                                  SST 000293
                                                              Globenet-SST-001688
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                                     140




                                                                  SST 000294
                                                              Globenet-SST-001689
Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 88 of
                                     140
Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 89 of
                                     140
Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 90 of
                                     140
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                                     140
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                                     140
    Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 93 of
                                         140



From:                nicholas.barshel@akerman.com
Sent:                Wednesday, July 15, 2020 4:16 PM
To:                  Bertha.A.Miller@usace.army.mil
Cc:                  Timothy.H.Mcquillen@usace.army.mil; Emmanuel.J.Freeman@usace.army.mil;
                     Donald.G.Nelson@usace.army.mil; John.W.Bearce@usace.army.mil;
                     Ashleigh.H.Fountain@usace.army.mil
Subject:             RE: Correction - Consent to Easement Agreement (DACW17-9-03-0084) (UNCLASSIFIED)


ThankyouverymuchforthisBertha.Wereallyappreciateeveryone'sassistanceingettingthisdone.

NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:MILLER,BerthaACIVUSARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil>
Sent:Wednesday,July15,20203:50PM
To:Barshel,Nicholas(AssocͲMia)<nicholas.barshel@akerman.com>
Cc:McQuillen,TimothyHartCIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>;FREEMAN,EmmanuelJ
CIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil>;Nelson,DonaldGCIVUSARMYCESAJ(US)
<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil>;
Fountain,AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)(UNCLASSIFIED)

Mr.Barshel,
PleaseseetheexecutedCorrectiveConsenttoEasement.Ifyouhaveanyquestions,feelfreetoletmeknow.

v/r,
Bertha

BerthaA.Miller
RealtySpecialist
U.S.ArmyCorpsofEngineers
JacksonvilleDistrict
RealEstateDivision
P.O.Box4970
Jacksonville,FL32232Ͳ0019
tel.904Ͳ232Ͳ3727
emailbertha.a.miller@usace.army.mil


ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:nicholas.barshel@akerman.com[mailto:nicholas.barshel@akerman.com]
Sent:Friday,July10,202010:51AM



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                                                                                            Globenet-SST-001695
    Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 94 of
                                         140
To:McQuillen,TimothyHartCIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>;MILLER,BerthaACIV
USARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil>;FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)
<Emmanuel.J.Freeman@usace.army.mil>
Cc:Nelson,DonaldGCIVUSARMYCESAJ(US)<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ
(US)<John.W.Bearce@usace.army.mil>;Fountain,AshleighHCIVUSARMYCESAJ(USA)
<Ashleigh.H.Fountain@usace.army.mil>
Subject:[NonͲDoDSource]RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)(UNCLASSIFIED)

Followinguponthis.Canyouallpleaseletmeknowastatusupdate.WeinitiallysentthisrequestonApril17anditis
veryimportanttoourclienttogetthiscorrectedtoensuretheeasementreflectswheretheyhavearighttousefederal
rightofway.Thankyou,

NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:McQuillen,TimothyHartCIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>
Sent:Tuesday,July7,20209:01AM
To:MILLER,BerthaACIVUSARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil>;FREEMAN,EmmanuelJCIVUSARMY
CESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil>
Cc:Nelson,DonaldGCIVUSARMYCESAJ(US)<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ
(US)<John.W.Bearce@usace.army.mil>;Fountain,AshleighHCIVUSARMYCESAJ(USA)
<Ashleigh.H.Fountain@usace.army.mil>;Barshel,Nicholas(AssocͲMia)<nicholas.barshel@akerman.com>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)(UNCLASSIFIED)

CLASSIFICATION:UNCLASSIFIED

Emman,BerthaͲWhatisthestatus?Pleaseletusknowwherethisisinthequeueforreview.

V/r,
TimothyH.McQuillen
Chief,RealEstateDivision
USACEͲJacksonvilleDistrict

O:904Ͳ232Ͳ1170
C:904Ͳ629Ͳ7126
timothy.h.mcquillen@usace.army.mil

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:nicholas.barshel@akerman.com[mailto:nicholas.barshel@akerman.com]
Sent:Monday,July6,20203:25PM
To:MILLER,BerthaACIVUSARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil>
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil>;McQuillen,TimothyHart
CIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>;Nelson,DonaldGCIVUSARMYCESAJ(US)
<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil>;
Fountain,AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil>
Subject:[NonͲDoDSource]RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)

Hello,canyoupleaseletmeknowifyouhaveanupdateonstatusofthiseasementcorrection?

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                                                                                              Globenet-SST-001696
   Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 95 of
                                        140

Thankyou,

NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:Barshel,Nicholas(AssocͲMia)
Sent:Monday,June29,202011:07AM
To:'MILLER,BerthaACIVUSARMYCESAJ(USA)'<Bertha.A.Miller@usace.army.mil>
Cc:'FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)'<Emmanuel.J.Freeman@usace.army.mil>;'McQuillen,Timothy
HartCIVUSARMYCESAJ(USA)'<Timothy.H.Mcquillen@usace.army.mil>;'Nelson,DonaldGCIVUSARMYCESAJ(US)'
<Donald.G.Nelson@usace.army.mil>;'Bearce,JohnWCIVUSARMYCESAJ(US)'<John.W.Bearce@usace.army.mil>;
'Fountain,AshleighHCIVUSARMYCESAJ(USA)'<Ashleigh.H.Fountain@usace.army.mil>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)

Goodmorning,canyoupleaseletmeknowifyouhaveanupdateonstatusofthiseasementcorrection.Thankyou,

NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:Barshel,Nicholas(AssocͲMia)
Sent:Monday,June22,20209:53AM
To:'MILLER,BerthaACIVUSARMYCESAJ(USA)'<Bertha.A.Miller@usace.army.mil>
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil>;McQuillen,TimothyHart
CIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>;Nelson,DonaldGCIVUSARMYCESAJ(US)
<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil>;
Fountain,AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)

Goodmorning,checkinginonthismatter.Canyoupleaseletmeknowifyouhaveanupdateonstatusofthiseasement
correctionafterlastweek.Thankyou,

NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:MILLER,BerthaACIVUSARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil>
Sent:Friday,June12,202012:30PM
To:Barshel,Nicholas(AssocͲMia)<nicholas.barshel@akerman.com>
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil>;McQuillen,TimothyHart
CIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>;Nelson,DonaldGCIVUSARMYCESAJ(US)

                                                          3

                                                                                          Globenet-SST-001697
    Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 96 of
                                         140
<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil>;
Fountain,AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)

Mr.Barshel,
Pleaseallowmethroughnextweek.Ihavenothadachancetoworkonthis.

Thankyou,

BerthaA.Miller
RealtySpecialist
U.S.ArmyCorpsofEngineers
JacksonvilleDistrict
RealEstateDivision
P.O.Box4970
Jacksonville,FL32232Ͳ0019
tel.904Ͳ232Ͳ3727
emailbertha.a.miller@usace.army.mil


ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:nicholas.barshel@akerman.com[mailto:nicholas.barshel@akerman.com]
Sent:Friday,June12,20209:04AM
To:MILLER,BerthaACIVUSARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil>
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil>;McQuillen,TimothyHart
CIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil>;Nelson,DonaldGCIVUSARMYCESAJ(US)
<Donald.G.Nelson@usace.army.mil>;Bearce,JohnWCIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil>;
Fountain,AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil>
Subject:[NonͲDoDSource]RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)

Goodmorning,couldyoupleaseletmeknowthestatusofthiseasementcorrection?



Wewouldbegladtohelpexpediteifpossible,astheclientislookingtogetthiswrappedupassoonaspossible.Thank
you,



NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com>


From:Barshel,Nicholas(AssocͲMia)
Sent:Monday,May11,20203:08PM
To:'MILLER,BerthaACIVUSARMYCESAJ(USA)'<Bertha.A.Miller@usace.army.mil>
Cc:'FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)'<Emmanuel.J.Freeman@usace.army.mil>;'McQuillen,Timothy
HartCIVUSARMYCESAJ(USA)'<Timothy.H.Mcquillen@usace.army.mil>;'Nelson,DonaldGCIVUSARMYCESAJ(US)'


                                                            4

                                                                                             Globenet-SST-001698
   Case 9:21-cv-80728-RAR Document 27-1 Entered on FLSD Docket 04/30/2021 Page 97 of
                                        140
<Donald.G.Nelson@usace.army.mil>;'Bearce,JohnWCIVUSARMYCESAJ(US)'<John.W.Bearce@usace.army.mil>;
'Fountain,AshleighHCIVUSARMYCESAJ(USA)'<Ashleigh.H.Fountain@usace.army.mil>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)



GoodafternoonBertha,followinguponthebelow.Pleaseletmeknowifyouhaveanupdateonstatusofthis
easementcorrection?



Thankyou,



NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com>


From:Barshel,Nicholas(AssocͲMia)
Sent:Wednesday,April29,20202:36PM
To:'MILLER,BerthaACIVUSARMYCESAJ(USA)'<Bertha.A.Miller@usace.army.mil
<mailto:Bertha.A.Miller@usace.army.mil>>
Cc:'FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)'<Emmanuel.J.Freeman@usace.army.mil
<mailto:Emmanuel.J.Freeman@usace.army.mil>>;'McQuillen,TimothyHartCIVUSARMYCESAJ(USA)'
<Timothy.H.Mcquillen@usace.army.mil<mailto:Timothy.H.Mcquillen@usace.army.mil>>;'Nelson,DonaldGCIV
USARMYCESAJ(US)'<Donald.G.Nelson@usace.army.mil<mailto:Donald.G.Nelson@usace.army.mil>>;'Bearce,JohnW
CIVUSARMYCESAJ(US)'<John.W.Bearce@usace.army.mil<mailto:John.W.Bearce@usace.army.mil>>;'Fountain,
AshleighHCIVUSARMYCESAJ(USA)'<Ashleigh.H.Fountain@usace.army.mil
<mailto:Ashleigh.H.Fountain@usace.army.mil>>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)



GoodafternoonBertha,justfollowingupontheeasementcorrectiondiscussedbelow.Pleaseletmeknowifyouhavea
senseoftimeonwhenitmaybeissued?



Thankyou,



NicholasBarshel
Associate
AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131
D:3059825538
nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com>
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                                        140

From:Barshel,Nicholas(AssocͲMia)
Sent:Friday,April17,202011:18AM
To:'MILLER,BerthaACIVUSARMYCESAJ(USA)'<Bertha.A.Miller@usace.army.mil
<mailto:Bertha.A.Miller@usace.army.mil>>
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil
<mailto:Emmanuel.J.Freeman@usace.army.mil>>;McQuillen,TimothyHartCIVUSARMYCESAJ(USA)
<Timothy.H.Mcquillen@usace.army.mil<mailto:Timothy.H.Mcquillen@usace.army.mil>>;Nelson,DonaldGCIV
USARMYCESAJ(US)<Donald.G.Nelson@usace.army.mil<mailto:Donald.G.Nelson@usace.army.mil>>;Bearce,JohnW
CIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil<mailto:John.W.Bearce@usace.army.mil>>;Fountain,
AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil
<mailto:Ashleigh.H.Fountain@usace.army.mil>>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)

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
Thankyouverymuchforthepromptreply.Pleaseletmeknowifyouhaveanyquestionswhileprocessingtherevised
Consent.Iamveryfamiliarwiththismatterandwouldbehappytoassistasneeded.



NicholasBarshel

Associate

AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131

D:3059825538

nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com>

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
ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:MILLER,BerthaACIVUSARMYCESAJ(USA)<Bertha.A.Miller@usace.army.mil
<mailto:Bertha.A.Miller@usace.army.mil>>
Sent:Friday,April17,202010:20AM
To:Barshel,Nicholas(AssocͲMia)<nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com>>
Cc:FREEMAN,EmmanuelJCIVUSARMYCESAJ(USA)<Emmanuel.J.Freeman@usace.army.mil
<mailto:Emmanuel.J.Freeman@usace.army.mil>>;McQuillen,TimothyHartCIVUSARMYCESAJ(USA)
<Timothy.H.Mcquillen@usace.army.mil<mailto:Timothy.H.Mcquillen@usace.army.mil>>;Nelson,DonaldGCIV
USARMYCESAJ(US)<Donald.G.Nelson@usace.army.mil<mailto:Donald.G.Nelson@usace.army.mil>>;Bearce,JohnW
CIVUSARMYCESAJ(US)<John.W.Bearce@usace.army.mil<mailto:John.W.Bearce@usace.army.mil>>;Fountain,
AshleighHCIVUSARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil
<mailto:Ashleigh.H.Fountain@usace.army.mil>>
Subject:RE:CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)
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
Mr.Barshel,
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Thankyouforidentifyingthiserror.Wewillmakethecorrectiontoreflecttherighttractnumbersbasedonthe
informationyouprovidedus.AnewConsenttoEasementwillneedtobeissuedandwillbeprovidedtoyousoonfor
yourclient'ssignature.
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Pleasefeelfreetocontactmeforanyquestions.
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Respectfully,
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
BerthaA.Miller

RealtySpecialist

U.S.ArmyCorpsofEngineers

JacksonvilleDistrict

RealEstateDivision

P.O.Box4970

Jacksonville,FL32232Ͳ0019

tel.904Ͳ232Ͳ3727

emailbertha.a.miller@usace.army.mil<mailto:bertha.a.miller@usace.army.mil>
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ͲͲͲͲͲOriginalMessageͲͲͲͲͲ

From:nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com>
[mailto:nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com>]

Sent:Friday,April17,20209:42AMto

To:McQuillen,TimothyHartCIVUSARMYCESAJ(USA)<Timothy.H.Mcquillen@usace.army.mil
<mailto:Timothy.H.Mcquillen@usace.army.mil>>;MILLER,BerthaACIVUSARMYCESAJ(USA)
<Bertha.A.Miller@usace.army.mil<mailto:Bertha.A.Miller@usace.army.mil>>;Nelson,DonaldGCIVUSARMYCESAJ
(US)<Donald.G.Nelson@usace.army.mil<mailto:Donald.G.Nelson@usace.army.mil>>;Bearce,JohnWCIVUSARMY
CESAJ(US)<John.W.Bearce@usace.army.mil<mailto:John.W.Bearce@usace.army.mil>>;Fountain,AshleighHCIV
USARMYCESAJ(USA)<Ashleigh.H.Fountain@usace.army.mil<mailto:Ashleigh.H.Fountain@usace.army.mil>>

Subject:[NonͲDoDSource]CorrectionͲConsenttoEasementAgreement(DACW17Ͳ9Ͳ03Ͳ0084)
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Goodmorningall,
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IamreachingouttotheUSACERealEstateDivisiononbehalfofourclientGlobenetCabosSubmarinosAmerica,Inc.,
f/k/aBrasilTelecomofAmerica,Inc.(“Globenet”),whoisthegranteeunderConsenttoEasementAgreementDACW17Ͳ
9Ͳ03Ͳ0084(“Easement”).TheEasementallowsuseoffederalrightͲofͲwayintheAtlanticIntracoastalWaterwayofPalm
BeachCountyforburiedconduit.TheinstallationofthisburiedconduitwaspermittedbyUSACEunderDAPermitNo.
199905552(“Permit”).
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Thereisanerrorinthe“TractNumbers”referencedintheEasementthatresultsintheeasementareapotentially
excludingthelocationwheretheburiedconduitwasactuallyinstalled.TheEasementstatesthatGlobenethasrightsto
usefederalrightͲofͲwayidentifiedasTracts908and909onExhibitA,andthatconstructionshallbeinaccordancewith
PermitdrawingsinExhibitB.TheissueisthatthesketchedlocationinExhibitBisoutsideofTracts908/909onthe
USACE“ProjectMap”referencedinExhibitA.In2001,MichaelBakerJr.,Inc.preparedalegaldescriptionandsurvey
identifyingtheasͲbuiltlocationoftheburiedconduit.GlobenetobtainedasurveythatconfirmsthisasͲbuiltconduitis
southofTracts908/909intheEasement,andinsteadislocatedwithinTracts910and911ontheProjectMap.
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Atthistime,wearerequestingacorrectiontotheEasementtoreflecttheproperTractNumbers(910and911)where
theburiedconduitislocatedintheIntracoastalWaterway.InfurtheranceofthisEasementcorrection,wehave
attachedthefollowing:
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*CopyoftheEasement;

*CopyoftheProjectMap;

*2001correspondencewithasͲbuiltsurveyandthecorrectlegaldescription,reflectingwheretheconduitwas
buried;and

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*2019boundarysurveyconfirmingtherelativelocationsofTracts908to911andtheasͲbuiltconduit.
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Pleaseletusknowifyouhaveanyadditionalquestionsorneedanythingfromus,aswewouldliketohavethis
correctionprocessedassoonaspossible.Thankyouforyourassistance,
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
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
NicholasBarshel

Associate

AkermanLLP|98SoutheastSeventhStreet,Suite1100|Miami,FL33131

D:3059825538

nicholas.barshel@akerman.com<mailto:nicholas.barshel@akerman.com><mailto:nicholas.barshel@akerman.com
<mailto:nicholas.barshel@akerman.com>>
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vCard<BlockedBlockedBlockedBlockedhttps://www.akerman.com/vcards/1028.vcf>|Profile
<BlockedBlockedBlockedBlockedhttps://www.akerman.com/en/people/nicholasͲbarshel.html>
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<BlockedBlockedBlockedBlockedhttp://www.akerman.com/>
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CONFIDENTIALITYNOTE:Theinformationcontainedinthistransmissionmaybeprivilegedandconfidential,andis
intendedonlyfortheuseoftheindividualorentitynamedabove.Ifthereaderofthismessageisnottheintended
recipient,youareherebynotifiedthatanydissemination,distributionorcopyingofthiscommunicationisstrictly
prohibited.Ifyouhavereceivedthistransmissioninerror,pleaseimmediatelyreplytothesenderthatyouhave
receivedthiscommunicationinerrorandthendeleteit.Thankyou.
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CLASSIFICATION:UNCLASSIFIED




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